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                             EXHIBIT B
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                                UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
   _______________________________
                                  :
   SECURITIES AND EXCHANGE        :
   COMMISSION,                    :
                                  :
        Plaintiff,                : Case No. 17-62255-Civ-COOKE/HUNT
                                  :
                 v.               :
                                  :
   IBRAHIM ALMAGARBY and          :
   MICROCAP EQUITY GROUP, LLC,    :
                                  :
        Defendants.               :
   _______________________________:

                 REPORT OF EXPERT WITNESS ROBERT W. LOWRY IN RESPONSE
                       TO REPORT OF DEFENDANTS’ EXPERT WITNESS

   I.        Qualifications

          My qualifications are set forth in the curriculum vitae which is attached to
   this report. 1 I have more than 45 years of experience in the securities industry,
   including 23 years with the Securities and Exchange Commission ("SEC") in the
   Division of Market Regulation. I have conducted numerous broker-dealer
   examinations and self-regulatory oversight inspections of the National Association
   of Securities Dealers, Inc. ("NASD"), which is now known as the Financial Industry
   Regulatory Authority ("FINRA"), and the New York Stock Exchange ("NYSE") while
   working in the Division of Market Regulation. 2

   1
       See Expert Exhibit 1.
   2
    FINRA was created through the consolidation of the NASD and the member regulation, enforcement
   and arbitration operations of the New York Stock Exchange. The consolidation, which was announced on
   Nov. 28, 2006 and approved by the Securities and Exchange Commission on July 26, 2007, became
   effective on July 30, 2007.
                                                      1
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           While at the SEC, the Division of Enforcement staff frequently consulted
   with me on cases involving markups, over-the-counter trading and sales practice
   abuses. I also assisted the Division of Enforcement on complex investigations and
   litigation matters pertaining to broker-dealer activities, including matters
   involving market manipulation and disclosure issues. My SEC enforcement
   experience included taking investigative testimony, analyzing trading data and
   customer account statements, preparing affidavits and schedules, and giving
   factual and expert witness testimony in federal court on three different occasions
   (SEC v. First Jersey Securities, SEC v. Thomas James, and U.S. v. Eric Wynn). While I
   was employed at the SEC, I served as an expert, and I was successfully qualified as
   such, in the areas of markups (SEC v. Thomas James) and securities trading in the
   over-the-counter market (U.S. v. Eric Wynn). I testified as a summary witness on
   the third occasion (SEC v. First Jersey Securities).

         I am familiar with how securities markets operate (e.g., the various types of
   Exchange and over-the-counter ("OTC") markets); the rules, regulations, customs
   and practices of the securities industry; and the role of specialists, market makers
   and transfer agents. I am also familiar with how securities prices are determined,
   how to detect indicia of manipulated and non-competitive markets, the purchase
   and sale of private placement offerings, and the obligations of individuals who are
   designated with the supervisory responsibility of registered representatives
   ("RRs" or "brokers").

          I have been retained in more than 700 matters ranging from securities
   arbitration, state and federal regulatory proceedings, criminal and civil
   proceedings in state and federal courts, as well as compliance-related audits for
   broker dealers and investment advisers. I provide consulting services to federal
   and state regulatory agencies, securities attorneys, litigants, broker-dealers and
   investment advisers throughout the US. I have been retained by Plaintiffs or
   Claimants (including the SEC, state securities regulators, the Department of
   Justice, broker dealers, investment advisers, hedge funds, and individuals). I
   specialize in matters involving best execution, market manipulation, sales
   practices, suitability, investment advice, churning, damages, excessive trading,
   clearing firm liability, sale of unregistered securities, selling away and the
   supervision of broker-dealers and investment advisers.


                                             2
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         Since 1996, I have appeared in federal court, criminal and civil, on more
   than 50 occasions. I have published articles which addressed the subjects of
   supervision and best execution for the Practicing Law Institute and the Public
   Investors Arbitration Bar Association. 3

          My recent engagements include an assignment as an expert witness on
   behalf of the Division of Enforcement in SEC v. Big Apple Consulting USA. Inc.,
   No. 6:09-cv-1963- Orl-28GJ (M.D.Fla.), in which I was qualified as an expert in
   federal district court on the practices of broker-dealers (see, SEC v. Big Apple
   Consulting USA, Inc., 2011 WL 3753581 at *3 (M.D.Fla. Aug. 25, 2011) [holding
   that defendants were dealers under the Exchange Act and violated the Act by
   failing to register]), and opined on, among other things, whether the activities
   of a company were consistent with the activities of a dealer under the federal
   securities laws. I have also prepared expert reports for the Division of
   Enforcement in two other assignments - In the Matter of Ironridge Global
   Partners, LLC, et al.; 4 and SEC v. Caledonian Bank, et al., 5 which involved issues
   that are applicable in this case.

   II.        Engagement

          I have been engaged by the Division of Enforcement to review the expert
   report of James Burns and provide rebuttal opinions. That report, dated
   November 4, 2019, addressed whether: (1) the activities of Ibrahim Almagarby
   (“Almagarby”) and Microcap Equity Group LLC (“MEG”) (collectively
   “Defendants”) fell within the definition of “dealer” set forth in Section 3(a)(5) of
   the Securities Exchange Act of 1934 (“Exchange Act”), and (2) required that they
   register as a broker-dealer with the SEC. In response to that report, I have
   reviewed and analyzed certain activities of Defendants in order to determine the
   extent to which Defendants’ activities were consistent with the roles and

   3
       A list of these cases is attached as Expert Exhibit 2.
   4
     I was retained as an expert witness on behalf of the Division of Enforcement, and I prepared an expert
   report. Securities Exchange Act Release No. 81443. August 21, 2017 Administrative Proceeding File No.
   3-16649.
   5
     I was retained as an expert witness on behalf of the Division of Enforcement, and I prepared an expert
   report. Case No. 15-cv-894 (WHP).

                                                            3
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   activities performed by underwriters and dealers in the securities industry rather
   than the activities of “traders” or “investors.” My engagement included review
   and analysis of the impact on the market of Defendants’ activities in the absence
   of regulatory oversight by the SEC and FINRA. My engagement started on
   September 17, 2019, and charges for my services are billed at the rate of $275 per
   hour.

   III.      Basis for Opinion

           My opinion is based on my (1) more than 45 years of experience in the
   securities industry; (2) knowledge of the customs and practices of the securities
   industry; (3) working knowledge of federal securities laws, rules and regulations,
   as well as the rules and regulations of FINRA; (4) review of the deposition
   testimony of Almagarby, Burns, and Anthony Fusco; (5) review of the Jerome
   DeWitt declaration, including spreadsheets, that was filed in support of the SEC’s
   motion for summary judgment, and my independent examination and verification
   of the trading data he referred to in his declaration; (6) review of spreadsheets
   and schedules I prepared, which summarized the MEG documents and trading
   data I reviewed; (7) review of Assumption and Assignment Agreements; (8)
   review of MEG broker-dealer account statements; (9) review of Exchange
   Agreements; (10) review of Convertible Debentures and Loans; (11) review of
   Notice of Conversions; (12) review of Reset of Conversion Price Notices; (13)
   review of the pleadings; and (14) review of MEG’s Wells Fargo bank records.

   IV.       Summary of Opinion

          In considering the opinions that Burns expressed in his expert report, I
   reviewed the activities of Defendants Almagarby and MEG, and I concluded that
   Burns’ opinion that the Defendants’ activities were not characteristic of dealer
   activity was unsupported. 6 In my review, I found that Defendants (1) acquired 8.4
   billion shares of newly issued micro-cap securities in a three and one-half year
   period (“trading period”) and (2) sold more than 7.6 billion shares (more than
   90%) within the trading period. 7 These unregistered shares were directly
   6
       See Summary Exhibit 1 which summarizes MEG’s acquisitions and sales for each of the 37 companies.
   7
       The trading period started in January 2013 and ended in July 2016.

                                                         4
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   acquired from the issuers and were deposited into securities accounts at multiple
   broker-dealers. I determined that approximately 4.9 billion shares were sold
   within 30 days after they were deposited into brokerage accounts. The proceeds
   from these sales totaled more than $3.9 million.

          It was important for me to examine these transactions in detail so that I
   could understand how long Almagarby held the stocks before selling them. 8 It is
   my opinion that the general practice of selling shares immediately, or as soon as
   there was sufficient liquidity in the market, is not consistent with an investor who
   is acquiring shares for investment purposes. Almagarby’s business, which
   consisted of repeatedly obtaining shares directly from issuers through negotiated
   transactions and at deep discounts to the market price, with the intention of
   reselling those shares into the public market as soon as practicable, resulted in
   Almagarby, through MEG, engaging in activities which were consistent with the
   activities of an underwriter and a dealer. 9 Almagarby confirmed my opinion in
   that he testified that it was his intent to sell the shares within a few days after the
   shares were deposited into his brokerage accounts. 10

             Page 106
             6     Q.     And then when you deposited the stock with
             7     the intention that you would sell it within a few
             8     days.
             9     A.     Correct.

          I used this information, along with other information referenced below, as
   a basis to consider the opinions that Burns expressed in his expert report and
   deposition testimony. I determined that, contrary to Burns’ opinion, Almagarby
   and MEG engaged in business as a dealer and that Burns failed to properly

   8
    Although Defendants’ expert did not review each transaction, he testified he reviewed DeWitt’s
   declaration and charts.
   9
     The definition of “underwriter” is any person who has purchased from an issuer with a view to, or offers
   to sell for an issuer in connection with the distribution any security. See SEC v. Big Apple Consulting
   USA, Inc., supra, page 41. A “distribution” of securities is the process by which securities move from the
   issuer to the investing public.
   10
        Deposition testimony of Ibrahim Almagarby, June 27, 2019, page 106.

                                                       5
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   address various aspects of their conduct which indicated that they were engaged
   in the regular business of buying and selling securities in a manner inconsistent
   with what one would expect from a trader or investor.

   V.      Rebuttal Opinion

          My trading analysis was based on my review of the pertinent documents
   referenced above and Almagarby’s testimony. In my experience, the purchase of
   unregistered and newly issued shares from the issuer and the sale of those shares
   after holding them for a short period of time is consistent with the activities of an
   underwriter and/or dealer because these activities played a key role in the
   distribution of those shares to the investing public. Defendants sold more than
   7.6 billion shares that they obtained from issuers at a discounted price by
   converting debt instruments (convertible debt instruments and promissory notes)
   to shares of common stock. Defendants purchased these debt instruments from
   existing debt holders. According to MEG’s bank records, Defendants paid
   “finders” more than $500,000 to identify existing debt holders who were
   interested in selling their debt. 11

         My review of Defendants’ trading records was an essential part of my
   analysis, and it was a principal basis for my opinions in this report. It was
   important for my analysis that I could calculate the holding periods (i.e., the
   length of time a security was owned before it was sold) for all of the 37
   securities. 12 For example, I measured how much time elapsed from the date of a
   debt purchase to the first date shares were sold and I measured how much time
   elapsed before all the shares of a particular issuer were sold.




   11
     I reviewed the testimony of Anthony P. Fusco, who appears to be the largest source of these referrals.
   Fusco’s company, Bridgewater Capital Group, LLC, and Fusco, personally, received payments totaling
   $376,000. Fusco testified that he used the services of independent contractors to cold-call companies in
   order to identify potential sellers.
   12
     See Summary Exhibit 2, which is a chart that identifies each of the 37 companies that Defendants
   acquired and subsequently converted into common stock. The chart details the debt purchase date, the
   dates the shares were deposited into brokerage accounts and the dates the shares were sold.

                                                       6
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         1. Holding Periods

      As I noted in my qualifications, I was the expert for the SEC in the SEC v. Big
   Apple Consulting case. The holding periods for the unregistered securities MEG
   acquired in this case are much shorter than the holding periods described in the
   Big Apple case. In this case, the holding periods are just days, 13 rather than the six
   months or two-year periods cited by the 11th Circuit Court of Appeals in the Big
   Apple opinion. 14

      MEG immediately converted the debt it acquired into shares and deposited
   the shares into brokerage accounts. Thereafter, these shares were sold generally
   within days after they were deposited into brokerage accounts.

      Burns’ expert report does not describe any trading data that would or would
   not support the opinions that he expressed in his report; nor does the report
   address the short-term holding periods. Burns made reference to “reviewing the
   facts” but was vague about what facts he reviewed.

             Burns testified as follows: 15

             Page 117
             11    THE WITNESS:       Well, I was focused on
             12    reviewing the facts and seeing whether I thought
             13    Mr. Almagarby should be regarded as a dealer or

   13
        See Summary Exhibit 2
   14
     “Here, defendants claim that they “held onto [CyberKey] stock for months, if not half a year, maybe
   even longer.” Six months falls well short of the two-year “rule of thumb” to determine whether the
   securities were received with a view to distribution.”

   The evidence asserted by the SEC paints an even bleaker picture for the defendants. As the SEC expert
   explained:

             MJMM had acquired 301.8 million CyberKey [ ] shares as of November 9, 2006, and by
             December 7, 2006, all of these shares were sold. On December 7, 2006, MJMM had net sales
             totaling 304.3 million shares. By the end of the year, MJMM sold more than 75% of the 200
             million CyberKey [ ] shares it acquired after June 30, 2006, and it sold the remaining shares by
             January 23, 2007 . . .
   15
        Page 77 of Burns’ Deposition testimony transcript.
                                                         7
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         14    not. And I didn't see anything in the record
         15    that persuaded me he should.

         Burns again testified that he did not consider the trading records but
   instead testified that he looked at the complaint and tried to do “a common sense
   evaluation” whether any of the factors were met. He does not mention holding
   periods or investment purpose.

         Page 114
         14    Q      Are you saying that you yourself have
         15    not conducted a searching analysis of all the
         16    factors that might or might not make the
         17    defendants dealers, such as investment intent,
         18    holding one's self out, advertising? You have
         19    not conducted such a searching analysis in order
         20    to make a determination based on all the
         21    available facts available to you, including Mr.
         22    Almagarby's availability to you, as to whether or
         23    not Mr. Almagarby and his company acted as
         24    dealers?
         25    MR. KATZ: I'm going to object.
         Page 115
         1     THE WITNESS:         So I -- I looked at the
         2     record. I looked at the complaint. I looked at
         3     the factors that the SEC and I did sort of -- I
         4     tried to do a common sense evaluation of whether
         5     any of the factors would -- were met, such as
         6     regular clientele, holding one's self out at a
         7     regular place of business, regular turnover of
         8     business, all the factors that I think people in
         9     my position would be evaluating on behalf of a
         10    client if I were advising them about whether or
         11    not they needed to register.

         Burns’ report does not address either the Fusco deposition or the DeWitt
   declaration and exhibits.
                                           8
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          Burns agreed that the DeWitt summary exhibits (spreadsheets) indicated
    there were short holding periods. Although he had not mentioned DeWitt in his
    report, he testified that the turnover identified in the summary data presented in
    DeWitt’s spreadsheets was consistent with high-frequency traders.

          Page 103
          18    Q       So if you -- assuming that Mr.
          19    DeWitt's spreadsheets regarding how quickly he
          20    turned over his shares are accurate, would you
          21    consider that to be short period of time?
          22    MR. KATZ: Objection.
          23    THE WITNESS:          Not necessarily. A
          24    high-frequency trader might get in and out of
          25    positions many, many times during a day. As I
          Page 104
          1     recall, and I have a very fuzzy recollection of
          2     this, but some -- he pointed to percentages where
          3     holdings -- he held on to the position for seven
          4     days, sometimes for 14, sometimes for 30. I
          5     might be misremembering. But I think during
          6     those periods of time, given that Mr. Almagarby
          7     had exposure, he was exposed to investment risk.

           It is my opinion that comparing the trading activities of high frequency
    traders to the trading activities of the Defendants as part of an analysis of
    whether the Defendants engaged in dealer activity is flawed. The trading
    activities of high frequency traders are not comparable to Almagarby’s trading
    activities. Burns described Almagarby on page 8 of his report:

          “During the period in question, Mr. Almagarby was the sole owner and
          operator of MEG, which maintained brokerage accounts with various
          registered broker-dealers through which it engaged in all of its trading
          activity in the equity securities. The trading activity at issue in this
          proceeding was all done through MEG, and MEG’s trading activity involving
          microcap equities was generally limited to sales of the equity securities
                                             9
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          acquired through conversion of a debt security (i.e., MEG generally did not
          engage in purchases of microcap equity securities in the public market).
          Consequently, MEG’s purchases and sales during the course of these series
          of transactions generally involved separate securities of the same issuer:
          the purchases were privately negotiated (with the assistance and opinion of
          counsel) and involved debt securities or convertible debt securities;
          however, the sales were public sales into the market of publicly- traded
          equity securities.”

           It is my experience that high frequency traders depend on their ability to
    get in and out of securities quickly and typically buy and sell liquid securities that
    are traded in efficient markets. High frequency traders do not have to rely on
    Rule 144 exemptions in order to sell unregistered securities like Almagarby. They
    typically do not acquire shares by “conversion of a debt security” or engage in
    “purchases [that] were privately negotiated[.]”

          Burns seemed to agree that it was Almagarby’s intention to move the
    shares he acquired “as quickly as possible.”

          Page 104
          16    Q      I think you've acknowledged that Mr.
          17    Almagarby testified that he wanted to get in and
          18    out of the shares as quickly as he could, right?
          19    A      I think he -- that's one of the -- a
          20    line along those lines is what he said.
          21    Q      Assuming he said that, that would
          22    indicate that his intention, regardless of how
          23    long he wound up holding the shares, his
          24    intention was to move them into the market as
          25    quickly as possible. Do you agree?
          Page 105
          1     A      It sounds as if that's what he said.




                                              10
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           2.      Investment Purpose

        It was critical for Burns to address Defendants’ investment purpose and what,
    if any, impact it had on his opinions.

           Burns included the following quote in his report:

           “The SEC has taken the position that a dealer must buy and sell, or be
           willing to buy and sell, contemporaneously. This approach is necessary to
           distinguish dealers from investors who buy and sell a security for
           investment purposes, but sometimes hold the position for only a short
           amount of time. The distinction between active trader and dealer can be
           very fine.” 16

          Burns did not form an opinion whether Defendants bought and sold for
    investment purposes.

           Page 99
           24    THE WITNESS:       I -- I haven't formed an
           25    opinion about whether they bought and sold for
           Page 100
           1     investment purposes. His testimony suggested he
           2     wanted to get in and out of the market quickly,
           3     but I'm -- you know, I haven't plumbed the depths
           4     of that.

          Burns acknowledged that Almagarby wanted to liquidate the position
    quickly “so that he could have the wherewithal to go into the next investment…”

           Page 100
           6     Q      And the statement that you are
           7     testifying about that Mr. Almagarby made about
           8     wanting to get in and out quickly, that would
           9     tend to suggest that he did not have investment

    16
      Robert L.D. Colby, Lanny A. Schwartz, and Zachary J. Zweihorn, Broker-Dealer Regulation, 2d.
    Edition at §2.3.1.A (Practicing Law Institute, 2015) (hereinafter, “Colby”).
                                                        11
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          10    purpose in your view?
          11    A      Just that he wanted to liquidate the
          12    position quickly. I mean, when I think of for
          13    investment purposes, he might have wished to
          14    liquidate quickly so that he could have the
          15    wherewithal to go into his next investment and
          16    his next investment and his next investment.

          Burns does not indicate in his report how he considered Almagarby’s
    “investment purpose” in reaching his opinions that Defendants were not dealers,
    even though there were multiple red flags that he should have addressed:

       • Extremely short-term holding periods for the stocks acquired by
         Defendants;
       • Defendants’ trading records did not identify any purchases that were
         executed in either the over-the-counter (“OTC”) or Exchange markets;
       • Defendants relied on the Rule 144 exemption to sell the shares of the
         thirty-seven issuers;
       • Defendants purchased shares at deep discounts to the market price directly
         from the issuers;
       • Defendants sold securities even when the prices of the shares were
         declining;
       • Defendants purportedly paid 20% commissions to the cold-callers for
         identifying potential debt sellers;
       • Defendants acquired and subsequently sold shares that traded well below a
         penny (i.e. double zero .001 and triple zero .0001);
       • Defendants acquired newly issued shares of stock that were fundamentally
         high risk. These companies apparently had limited financial resources
         because they issued huge blocks of shares at a heavily discounted prices,
         rather than repaying the debt;
       • The dollar amount of the debt conversions was not significant -- 16 of 37
         (43%) were for amounts that were less than $20,000;

       Based on my review of Burns’ report and the transcript of his deposition, it
    appears that Burns was unfamiliar with these factors; however, he should have

                                            12
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    considered them in forming his opinions, or he should have explained why he did
    not use them.

           Burns cannot support his opinion that Almagarby and MEG had investment
    purpose in the purchase and sale of stocks other than to say there was exposure
    to investment risk.

          Page 105
          2     Q      Do you have any facts or information
          3     that you can relate at this time that convinced
          4     you that Mr. Almagarby and MEG had investment
          5     purpose in their purchase and sales of stocks?
          6     A      What -- well, again, the DeWitt
          7     declaration, given that it speaks to holdings --
          8     his holding for 7 or 14 or 30 days meant there
          9     was exposure. Exposure meant investment risk.
          10    So, you know, there's investment -- I see an
          11    investment purpose there, notwithstanding what
          12    he -- potential investment purpose,
          13    notwithstanding what he said at one point
          14    during -- in his transcript.

          Burns was asked to explain why Almagarby did not conduct due diligence if
    he was acquiring the shares for investment purposes. He does not refer to any
    information he obtained from Almagarby in his response.

          15    Q     And how does -- if the -- Mr.
          16    Almagarby's deposition transcript reflected that
          17    he did little to no due diligence on the shares,
          18    how would that affect your view of whether or not
          19    he had investment purpose?
          20    MR. KATZ: Objection.
          21    THE WITNESS:         There are different
          22    kinds of traders who -- who can invest again for
          23    reasons that aren't fundamental to the security
          24    they're purchasing or selling.
                                           13
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          3.    Underwriting Activity

           In his report, Burns does not meaningfully consider whether the
    Defendants were engaged in underwriting activity or involved in distributing
    shares obtained from issuers at crucial points in the chain of distribution. These
    are crucial considerations in determining whether one is engaging in dealer
    activity, and Burns’ failure to address these factors is a major deficiency in his
    report. In addition, during his deposition, Burns did not satisfactorily answer
    questions about determining whether someone is engaged in underwriting.

          Page 125
          18    Q      And your understanding, is the length
          19    of the holding period of shares a relevant factor
          20    in determining whether or not one is engaged in
          21    underwriting?
          22    A      It can be. Again, I'm not -- I don't
          23    spend as much time in the corporate side of
          24    things. I do recall Mr. Almagarby got 144
          25    opinions relating to his ability to -- the shares
          Page 126
          1     were sufficiently aged to sell them.
          2     Q      Okay. Do you know whether the volume
          3     of shares sold by someone in comparison with the
          4     total volume of shares sold by other persons on a
          5     given day or over a given time period is relevant
          6     to the inquiry as to whether or not one is
          7     engaged in underwriting?
          8     A      I think of that in a broad general
          9     markets context when you're talking about penny
          10    stocks, any kind of trading, given there is no
          11    liquidity in these market, it's going to
          12    constitute a significant amount of trading in any
          13    particular day.



                                             14
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           In my experience, determining whether persons who are engaged in the
    business of buying and selling securities, such as the Defendants, are involved in
    underwriting (whether or not they are statutory underwriters) is a crucial part of
    the dealer analysis. This determination requires more than just holding a finger
    to the wind; instead, it requires a close review and analysis of the buying-and-
    selling activity at issue. Strikingly absent from Burns’ report was any sort of
    meaningful analysis or description of MEG’s trading activity. Burns’ failure to
    scrutinize MEG’s trading activity may be responsible, in part, for his failure to
    recognize and to address key indicia of underwriting activity that is inconsistent
    with his opinion that Defendants were not dealers, namely:

    •     MEG immediately converted debt to unregistered shares;
    •     MEG received large quantities of shares at deeply discounted prices; and
    •     MEG immediately sold the unregistered shares.

          My review and analysis of the Defendants’ trading activity was an
    important basis for my opinion that Burns was wrong in concluding that the
    Defendants were not engaged in underwriting, and that they therefore cannot
    have been dealers. Below, I discuss the examples of Defendants’ transactions in
    the shares of Aluf Holdings Inc. and Grid Petroleum Corp. to vividly illustrate that
    the Defendants were engaged in underwriting activity.

           MEG’s activity in the two securities discussed below follows the same basic
    patterns that MEG engaged in for almost all the securities throughout the trading
    period. In my opinion, these stark patterns of activity are indicative of
    underwriting. The short-term holding periods between the dates (1) MEG
    acquired the debt and converted the debt into unregistered shares, and (2) MEG
    converted the debt into unregistered shares from the issuer and sold these
    shares, are typical of underwriting activity. In addition, the conversion discounts
    MEG received are consistent with the discounts or concessions an underwriter
    typically receives from issuers. Burns’ expert report was flawed because his
    report did not address these activities, did not contain any meaningful analysis of
    the trading patterns, and did not explain how such stark trading patterns could
    not constitute underwriting activity.



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                       A.      Aluf Holdings Inc. (“AHI”)

          In analyzing MEG’s purchases and sales of AHI, I determined the following:
    MEG purchased $75,000 of debt from debt holders in January 2016 in two
    transactions ($25,000 on January 7, 2016 and $50,000 on January 24, 2016). 17 On
    January 7, 2016 the closing Bloomberg price for AHI was $.0028 per share (i.e. 357
    shares per dollar). On January 24, 2016, the closing Bloomberg price was $.0012
    per share (i.e. 833 shares per dollar). 18

          MEG converted the initial $25,000 debt amount into 58,357,142 shares by
    January 25, 2016, at discounts ranging from 56.25% to 83.87%. All of these
    unregistered shares were sold by January 28, 2016.

          MEG converted $32,000 of the $50,000 debt amount into 602,857,142
    shares by May 25, 2016, at discounts ranging from 40.00% to 80.00%. All these
    shares were sold by June 27, 2016. The closing Bloomberg price on June 27, 2016
    was $.0001 (i.e. 10,000 shares per dollar).

                       B.      Grid Petroleum Corp (“GPC”)

           In analyzing MEG’s purchases and sales of GPC, I determined the following:
    MEG purchased $16,000 of debt from a debt holder on October 15, 2015. 19 The
    closing Bloomberg price for GPC on that date was $.0060 per share (i.e. 167
    shares per dollar). The first conversion occurred a week later on October 22,
    2015 when the closing Bloomberg price was $.0019 per share (i.e. 526 shares per
    dollar).

          MEG converted the initial $16,000 debt amount (plus an additional $5,033
    amount that was added on November 4, 2015) into 300,860,000 shares by April
    12, 2016, at discounts ranging from 50.00% to 75.00%. 20 All 300,860,000 GPC


    17
         See Summary Exhibit 3.1
    18
         The debt purchase date was a Sunday. Therefore, I used the closing price for the previous Friday.
    19
         See Summary Exhibit 3.2
    20
         I did not find any document that explained why the initial debt amount increased.
                                                          16
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    shares were sold by April 27, 2016. The closing Bloomberg price on April 27, 2015
    was $.0002 (i.e. 5,000 shares per dollar).

           The rapid turnover of the shares by the Defendants, the substantial
    discounts obtained by them, the minuscule value of the shares – which appears to
    have trended downward as the Defendants flooded the market with the shares –
    and the enormous number of shares bought from the issuers by the Defendants
    and sold into the public market are all indicative of underwriting and dealer
    activity. Burns’ ignoring or glossing over these stark facts was a significant
    shortcoming and raises questions about the extent to which he understood the
    facts and whether the facts mattered to him in his formulation of his opinions.

    VI.   Conclusion
           In his report, Burns opined that the Defendants did not fall within the
    definition of “dealer” and that the Defendants, therefore, need not have
    registered as “dealers” with the SEC. Burns’ report, however, suffers from a
    number of serious shortcomings and his conclusion is unsupported. Statements
    by Burns during his deposition in this case further undermined the soundness of
    his opinions.
           Burns conceded in his report and at his deposition that his opinions were
    largely based on reviewing the allegations in the complaint, reading the
    deposition transcript of Almagarby, and spending a half hour speaking to
    Almagarby without any serious attempt to determine whether his conduct
    constituted dealer activity.
           Having spent little or no time reviewing and analyzing the Defendants’
    conduct—particularly their trading patterns—Burns was incapable of rendering a
    reliable opinion about whether the Defendants fell within the definition of
    “dealers.” Burns did not adequately address the short holding periods of the
    billions of shares of extremely low-value shares that the Defendants obtained
    from issuers and promptly sold into the public markets. His erroneous conclusion
    that the Defendants were not “dealers” appears to have been the result of taking
    an unduly narrow view and purposefully avoiding exposing himself to all of the
    pertinent facts.

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                              EXHIBIT 1
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                                                     RL Consulting Services, Inc
                                                     19228 Charandy Drive
                                                     Leesburg, VA 20175
          R o b e r t W. L o w r y                   703-737-3167 (office)
                                                     703-623-3932 (mobile)


    Qualifications
       Summary

               Thorough knowledge of the federal securities laws and regulations,
               accounting practices, capital formation, and the customs and
               practices of the securities industry. Proficient in examining and
               investigating broker dealer activities and investment advisers;
               inspecting the activities of Self Regulatory Organizations; making
               effective oral and written presentations; analyzing complex financial
               records and transactions; conducting internet research; investigating
               illegal broker dealer activities; analyzing and calculating markups
               and markdowns; and using a personal computer to prepare detailed
               trading schedules and other exhibits.

    Employment
        History

          RL Consulting Services Inc.
          President   •   May 1996 to Present

          •    Since May 1996, I have been president of RL Consulting Services,
               Inc, which is located outside of Washington DC in Leesburg, VA.

          •    I have more than 44 years of experience in the securities industry –
               including the 23 years when I worked for the Securities and
               Exchange Commission in the Division of Market Regulation. While
               working at the SEC, I was responsible for conducting regulatory
               examinations and participating in enforcement investigations.

          •    My SEC work experience has provided me with the knowledge,
               training and experience for understanding how broker dealers must
               comply with securities laws and regulations. My clients have
               included public companies, public investors, broker dealers,
               investment advisers, state and federal (SEC) regulatory agencies
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                  and the Department of Justice.

          •       I have been qualified in court and arbitration hearings for cases
                  involving best execution, market manipulation, supervision of broker
                  dealers and investment advisers, sales practices, suitability,
                  churning, damages, clearing firm liability and selling away.

          •       I have been retained in over 800 matters ranging from securities
                  arbitration, state and federal regulatory proceedings, state and
                  federal criminal and civil court proceedings, as well as compliance
                  related audits for broker dealers and investment advisers.

          •       I have appeared in federal court (criminal and civil) on more than 50
                  occasions since 1996 and qualified to offer opinions as an expert in
                  market manipulation, suitability, churning, supervision and insider
                  trading.

          •       I have published articles which addressed the subjects of supervision
                  and best execution for the Practicing Law Institute and the Public
                  Investors Arbitration Bar Association, and have appeared on
                  Bloomberg Television. He is recognized as an expert in the field of
                  federal securities laws and regulations, accounting practices, capital
                  formation and the customs and practices of the securities industry.

          Prudential Insurance Company of America, Newark, NJ
          Director, Corporate Compliance Dept • May 1995 to May 1996

          •       I was responsible for assessing securities compliance of Prudential’s
                  largest broker dealer, Pruco Securities Corporation.

          •       I evaluated the adequacy of the supervisory system, branch office
                  inspection program, training initiatives and compliance with
                  Prudential's written supervisory procedures.

          •       I recommended and implemented appropriate corrective action when
                  needed.



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          •       I conducted sensitive investigations and branch office inspections to
                  identify systemic weaknesses in the compliance structure and to
                  respond to regulatory inquiries.

          Securities and Exchange Commission, Washington, DC
          Senior Accountant, Market Regulation • January 1972 to May 1995

          •       I evaluated the SEC's broker dealer examination program and the
                  SEC inspections of self-regulatory organizations (NASD, NYSE, and
                  AMEX).

          •       I conducted more than 250 broker-dealer examinations, inspected
                  the activities of self-regulatory organizations ("SROs").

          •       I analyzed complex financial records and securities transactions,
                  made detailed written and oral reports of findings, and prepared
                  damage calculations to support my report findings.

          •       I maintained routine contact with SEC regional office personnel to
                  recommend broker dealer examination priorities and resolve
                  examination issues, and advised staff on complex regulatory
                  matters.

          •       I consulted with the Division of Enforcement and the Office of
                  General Counsel on markup cases considered by the Commission.

          •       I worked with the Division of Enforcement on investigations and
                  litigation matters – which included taking testimony, analyzing trading
                  data, preparing schedules and analyzing complex securities
                  transactions.

          •       I testified on behalf of the SEC in federal court on three occasions
                  (SEC v. First Jersey Securities, SEC v. Thomas James and U.S. v.
                  Eric Wynn). I was qualified at trial as an expert in markups, over-the-
                  counter trading and damages.



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    Education

          University of Maryland, College Park, MD,
          B. A. Business Administration, 1976

    Publications

          •       The Elements of Best Execution,
                  Practicing Law Institute, 2001

          •       How “Red Flags” May Prove Supervision Cases,
                  Public Investors Arbitration Bar Association, 2002

          •       Selling Away in a Supervised Environment,
                  Public Investors Arbitration Bar Association, 2004

          •       Representing Claimants in Broker Theft Cases,
                  Public Investors Bar Association, 2010




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                              EXHIBIT 2
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                                                        ListofCasesͲ3/27/2018


Year   CaseName                          Proceeding                    Party       Subject                         Appearance
       AlphaCapitalv.Group            USDCSDNY1:02ͲcvͲ2219
2002                                                                    Defendant   MarketManipulation             Declaration
       Management                         (LBS)
                                                                                                                    ExpertReport,
2012   AnchorBankv.Hofer               USDCWDWI3:09ͲcvͲ00610       Defendant   MarketManipulation
                                                                                                                    Deposition

2012   Barbachanov.StandardChartered USDCSDNY1:11ͲcvͲ03553         Plaintiff   Suitability                     ExpertReport

2013   Barbachanov.StandardChartered USDCSDNY1:11ͲcvͲ03553         Plaintiff   Suitability                     Deposition

1998   Bishopv.MerrillLynch            USDCBirminghamAL            Plaintiff   Supervision                     Deposition

                                          USDCSDNY1:01ͲcvͲ76819
2002   Blackv.Finantra                                                Plaintiff   MarketManipulation             TrialTestimony
                                          (JSR)
       BNPv.AmericanEntertainment     USDCBankruptcy,Baltimore,
1998                                                                   Plaintiff    MarketManipulation             TrialTestimony
       Group                              MD
                                          USDCSDIL3:01ͲcvͲ00176                                                 TrialTestimony,
2003   Bolandv.A.G.Edwards                                          Plaintiff   Rule144
                                          (GBC)                                                                     ExpertReport

2018   Caldwellv.VantageBenefits       USDC3:17ͲcvͲ3459             Plaintiff   Damages                         ExpertReport

2000   Corsairv.Wedbush                 USDCLA8:99ͲcvͲ00470AHS Defendant       MarketManipulation             TrialTestimony

       Fortunet,Inc.v.Melange         USDC,DistrictofNV
2006                                                                    Plaintiff   Disclosure                      ExpertReport
       ComputerServices                  2:04ͲcvͲ01448(PMP)

1999   Griderv.MerrillLynch            USDCBirminghamAL            Plaintiff   Supervision                     Deposition

       HemispherxBiopharmav.Asensio
2000                                    USDCPhiladelphia,PA           Plaintiff   ShortSelling                   ExpertReport
       &Co
       IntheMatterofGenesis          USDCDistrictofMN03Ͳ                                                   ExpertReport,
2005                                                                    Plaintiff   Supervision
       Intermedia                        cvͲ03471(AJB)                                                            Deposition
       LastAtlantisv.AGSSpecialist                                                                             ExpertReport,
2014                                      USDCNDIL1:04ͲcvͲ00397        Plaintiff   BestExecution
       Partners                                                                                                    Deposition
       LastAtlantisv.AGSSpecialist                                                                             ExpertReport
2009                                      USDCNDIL1:04ͲcvͲ00397       Plaintiff   OptionOrderHandling
       Partners                                                                                                     Deposition
                                          USDCSDNY1:99ͲcvͲ02789                                                  ExpertReport,
2009   Levittv.BearStearns                                           Plaintiff   ClearingFirmLiability
                                          (MDL)                                                                     Deposition
                                          USDCDistrictofMD
2016   Millmanv.QuestarCapital                                       Plaintiff   Suitability,Supervision        ExpertReport
                                          1:15ͲcvͲ00894
                                                                                                                    TrialTestimony,
1998   Mishkinv.Ensmingeretal         USDCSDNY1:97ͲbkͲ08423       Defendant   ClearingFirmLiability
                                                                                                                    ExpertReport
                                          USDCEDVA1:09ͲcvͲ00753                  Suitability,PrudentInvestor   Deposition,
2009   O’Riordanv.USTrust                                            Plaintiff
                                          (LO)                                      Rule                            ExpertReport
                                          USDCDistrictofAZ
2010   Premierv.BankofAmerica                                       Defendant   MarketManipulation             ExpertReport
                                          09ͲcvͲ02265Ͳ(PHX)(FJM)
                                          USDCSDNY1:01ͲcvͲ09058
2008   SECv.Absolutefuture.com                                        Plaintiff   MarketManipulation,Damages    Affidavit
                                          (DAB)
                                          USDCDistrictofCO                                                      ExpertReport,
2010   SECv.AFTI(Geiger)                                             Plaintiff   MarketManipulation
                                          10ͲcvͲ00128(DME)                                                         Declaration
                                                                                                                    ExpertReport,
2017   SECv.AmericanGrowthFunding     USDCSDNY1:16ͲcvͲ00828       Claimant    Supervision
                                                                                                                    Deposition
                                          USDCLA2:96ͲcvͲ04164                                                    TrialTestimony,
1997   SECv.AndrewPitt                                               Plaintiff   MarketManipulation
                                          (MRP)                                                                     ExpertReport



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                                                         ListofCasesͲ3/27/2018


Year   CaseName                           Proceeding                    Party       Subject                            Appearance
                                           USDCEDPA2:07ͲcvͲ03800                  ShortSelling,InsiderTrading,
2008   SECv.Berlacher                                                  Plaintiff                                      ExpertReport
                                           (MSG)                                     Damages
                                                                                                                        ExpertReport,
2010   SECv.BigAppleConsultingUSA     USDCMDFL09ͲcvͲ01963         Plaintiff   DueDiligence,BDRegistration
                                                                                                                        Deposition

2012   SECv.BigAppleConsultingUSA     USDCMDFL09ͲcvͲ01963         Plaintiff   DueDiligence,BDRegistration     TrialTestimony

                                           USDCSDNY1:05ͲcvͲ09300                                                    Declaration,
2007   SECv.Boutraille                                             Plaintiff       InsiderTrading,Options
                                           (GBD)                                                                        ExpertReport

2016   SECv.CaledonianBank              USDCSDNY1:15ͲcvͲ00894       Plaintiff   Supervision                        ExpertReport

                                           USDCSDNY1:05ͲcvͲ10115
2007   SECv.Cameron(Jessop)                                           Plaintiff   MarketManipulation                ExpertReport
                                           (PAC)
                                           USDCDistrictofCT                                                         ExpertReport,
2007   SECv.CTT                                                        Plaintiff   MarketManipulation
                                           3:04ͲcvͲ01331(JCH)                                                          Deposition,Testimony
                                                                                                                        ExpertReport,
2017   SECv.Dynkowski                    USDC1:09ͲcvͲ361(GMS)        Plaintiff   MarketManipulation
                                                                                                                        Deposition
                                           USDCDistrictofNV
2006   SECv.Exotics                                                    Plaintiff   MarketManipulation                ExpertReport
                                           2:05ͲcvͲ00531(PMP)
                                           USDCDistrictofNV
2011   SECv.Exotics                                                    Plaintiff   MarketManipulation                TrialTestimony
                                           2:05ͲcvͲ00531(PMP)
                                                                                                                        ExpertReport,
2014   SECv.Garber                       USDCSDNY1:12ͲcvͲ09339       Plaintiff   UnregisteredSecs
                                                                                                                        Deposition
                                           USDC,NDTX
2006   SECv.GregoryBrady                                              Plaintiff   Damages                            ExpertReport
                                           3:05ͲcvͲ01416ͲD(SAF)
                                           USDCNDTX3:03ͲcvͲ00831
2005   SECv.InvestmentTechnology                                      Plaintiff   MarketManipulation                ExpertReport
                                           (KJD)
                                           USDCSDCA3:02ͲcvͲ00084
2005   SECv.JamesFranklin                                             Plaintiff   MarketManipulation                SummaryWitness
                                           (DMS)
                                           USDCSDFL1:01ͲcvͲ00369                                                     TrialTestimony,
2002   SECv.JeromeRosen                                               Plaintiff   MarketManipulation
                                           (DMM)                                                                        ExpertReport

2002   SECv.KfirBarzilay                USDCNDIL1:99ͲcvͲ05023       Plaintiff   Suitability,Churning              ExpertReport

       SECv.LancerGroup(Michael   USDCSDFL9:03ͲcvͲ80612                                                     ExpertReport,
2006                                                                     Plaintiff   MarketManipulation
       Lauer)                              (KAM)                                                                        Declaration
                                           USDCSDNY1:97ͲCVͲ07267                                                     ExpertReport,
1998   SECv.LeonardGreer                                         Plaintiff        MarketManipulation
                                           (MP)                                                                         Deposition
                                           USDCSDNY1:06ͲCVͲ14338
2009   SECv.Lyons                                                 Plaintiff        ShortSelling                      Deposition
                                           (SHS)
                                           USDCSDNY1:06ͲCVͲ14338
2008   SECv.Lyons                                                 Plaintiff        ShortSelling,Damages             ExpertReport
                                           (SHS)
                                           USDC,SDNY1:04ͲcvͲ01584
2006   SECv.MoisesSabaMasri                                      Plaintiff       MarketManipulation                ExpertReport
                                           (RJH)
                                           USDCDistrictofCT3:05ͲcvͲ
2007   SECv.Packetport                                                Plaintiff    MarketManipulation                ExpertReport
                                           01747(JCH)
                                           USDCDistrictofNJ
2007   SECv.Pasternak                                                  Defendant   Supervision                        ExpertReport
                                           1:05ͲcvͲ03905(JAP)
                                           USDCDistrictofCO09Ͳ                                                     Deposition(Summary
2010   SECv.Regency                                                    Plaintiff   MarketManipulation
                                           cvͲ00497(DME)                                                               Witness)
                                           USDCSDNY1:85ͲcvͲ07072
2000   SECv.RichardBertoli                                            Plaintiff   MarketManipulation                ExpertReport
                                           (LBS)



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                                                    ListofCasesͲ3/27/2018


Year   CaseName                     Proceeding                      Party       Subject                           Appearance
                                     USDCEDPA07ͲcvͲ03800                                                       ExpertReport,
2010   SECv.RobertBerlacher                                       Plaintiff   InsiderTrading
                                     (ER)                                                                          TrialTestimony
                                     USDCSDNY1:97ͲcvͲ05853
2000   SECv.Schiffer                                               Plaintiff   MarketManipulation               ExpertReport
                                     (RO)
                                     USDCMDFL8:04ͲcvͲ02477
2007   SECv.Simmons                                                Plaintiff   MarketManipulation               ExpertReport
                                     (MAP)
                                     USDCSDNY1:97ͲcvͲ
1999   SECv.SimonRosenfeld                                        Plaintiff   MarketManipulation               ExpertReport
                                     01467(WHP)
                                     USDCSDNY1:94ͲcvͲ06608                                                      TrialTestimony,
2002   SECv.USEnvironmental                                       Plaintiff   MarketManipulation
                                     (PKL)                                                                         ExpertReport

2000   SECv.Vigue                  USDCPortland,ME              Plaintiff   MarketManipulation               ExpertReport

                                     USDCSDNY1:01ͲcvͲ09058
2008   SECv.Wamex                                                  Plaintiff   MarketManipulation,Damages      Affidavit
                                     (DAB)
                                     USDCDC1:05ͲcvͲ00869                                                        ExpertReport,
2006   SECv.Whittemore                                             Plaintiff   MarketManipulation
                                     (RMC)                                                                         Declaration

2011   SECv.Williams               USDCNDofTX3:10ͲcvͲ1068 Plaintiff        MarketManipulation               ExpertReport

                                     USDC,DistrictofUtah
2005   SECv.Wolfson                                                Plaintiff   MarketManipulation               ExpertReport
                                     2:02ͲcvͲ01086(CW)
                                     USDCSDNY1:06ͲcvͲ02401
2007   SECv.Yaroshinsky                                            Plaintiff   InsiderTrading                   ExpertReport
                                     (CM)
                                     USDCDistrictofAZ                        Supervision,MoneyLaundering,
2009   Sternv.CharlesSchwab                                       Plaintiff                                     ExpertReport
                                     2:09ͲcvͲ01229(DGC)                         PonziScheme
                                     USDC,DistrictofNE                                                         ExpertReport,
2006   Telcov.Ameritrade                                           Plaintiff   BestExecution
                                     8:05ͲcvͲ00387(JFB)                                                           Deposition
       TranscontinentalRealtyv.   USDCSDNY1:01ͲcvͲ06782
2002                                                                 Plaintiff   Section16B                       ExpertReport
       GothamPartners               (MP)
                                     USDCSDFL1:02ͲcrͲ20473
2003   USv.Kelly                                                  Plaintiff   MarketManipulation               TrialTestimony
                                     (CMA)

2011   USv.Fan                     USDCWesternDistrictofWA Defendant       Damages                           Declaration

                                     USDCSDNY1:02ͲcrͲ00986
2005   USv.FrankSkelly                                            Defendant   Damages                           ExpertReport
                                     (RMB)

2015   USv.FredMontano            USDCEDPA2:13ͲcrͲ00082         Defendant   Damages                           ExpertReport

                                     USDCEDNY1:03ͲcrͲ00833
2011   USv.Gushlak                                                 Defendant   Damages                           ExpertReport
                                     NGG
                                     USDCEDNY1:03ͲcrͲ00833
2012   USv.Gushlak                                                 Defendant   Damages                           TrialTestimony
                                     NGG
                                     USDCEDNY0:99ͲcrͲ00697
2000   USv.KensingtonWells                                        Plaintiff   MarketManipulation               TrialTestimony
                                     LDW
                                     USDCNDGA1:99ͲcrͲ00462
2000   USv.McClendonetal.                                        Plaintiff   ExcessiveTrading,Damages        TrialTestimony
                                     ODE
                                     USDCSDNY1:01ͲcvͲ01033
2002   USv.Pappas                                                  Defendant   Damages                           ExpertReport
                                     (DAB)
                                     USDCSDNY1:97ͲcvͲ05912
1999   USv.RobertLandau                                           Plaintiff   MarketManipulation               ExpertReport
                                     (SHS)
                                     USDCSDIL3:99ͲcvͲ00567
2001   Westv.PrudentialSecs                                       Plaintiff   MarketManipulation               ExpertReport
                                     (GPM)



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Year   CaseName                          Proceeding                       Party       Subject                           Appearance
                                          CircuitCourt,Cook
2003   Alcalav.BearStearns                                             Movant      ClearingFirmLiability           ExpertReport
                                          County,IL
                                          CircuitCourtofMDfor
2015   Bromwellv.Signator                                                Plaintiff   Suitability                       ExpertReport
                                          DorchesterCounty

2013   Christiansenv.Wachovia           SCStateCourt                   Plaintiff   Suitability,DueDiligence        ExpertReport

                                          CircuitCourt,Martin
2011   Clarkv.TDAmeritrade                                              Plaintiff   ClearingFirmLiability           Affidavit
                                          County,FL
                                          CircuitCourtofCook                                                          ExpertReport,
2014   Crowev.Entrust                                                    Plaintiff   Supervision
                                          County,IL                                                                     Deposition
                                                                                                                         ExpertReport,
2012   Erbv.Jonas                       CircuitCourt,AlexandriaVA Plaintiff       Damages
                                                                                                                         Deposition,Testimony
                                          ProbateCourtDallas
2010   Griffinv.Albers                                                   Plaintiff   Supervision                       ExpertReport
                                          TX
                                          CircuitCourtof
2015   Hayesv.MorseCapital                                              Plaintiff   Supervision,Suitability          ExpertReport
                                          RockinghamCountyVA

2000   HaymarketLLCv.DGJewelry       NYSupremeCourt                 Defendant   MarketManipulation,ShortSelling Testimony

                                          PennsylvaniaCommon                                                            TrialTestimony,
2002   Hemispherxv.Asensio                                               Plaintiff   ShortSelling
                                          PleasCourt                                                                    ExpertReport

2007   Hennessyv.Granite                NYSupremeCourt                 Defendant   Supervision                       Affidavit

       IntheMatterofHaroldWoodv.   DistrictCourtforTulsa
2015                                                                       Plaintiff   Suitability                       ExpertReport
       MarkLyons                         CountyͲOK
       IntheMatterofHaroldWoodv.   DistrictCourtforTulsa
2016                                                                       Claimant    Suitability                       Testimony
       MarkLyons                         CountyͲOK
                                          DistrictCourtof
2003   Kleinv.Oppenheimer                                                Plaintiff   ClearingFirmLiability           Deposition
                                          JohnsonCounty,KS
                                          CircuitCourtof
2010   Lowengartv.CephusCapital                                         Plaintiff   Suitability                       Affidavit
                                          JeffersonCoAL09Ͳ903145
                                          CircuitCourt,
2011   McCartyv.MetLife                                                  Plaintiff   Suitability,Damages              ExpertReport
                                          RandolphCounty,WV
                                          DistrictCourtofDallas                                                       ExpertReport,
2014   McLendonv.ChapmanHext                                            Plaintiff   Suitability,DueDiligence
                                          County,TX                                                                     Deposition
                                          SuperiorCourt,CriminalDiv
2005   NewJerseyv.Bazarte                                           Plaintiff       Conversion,Damages,Trading      TrialTestimony
                                          (FlemingtonNJ)
                                          SuperiorCourt,
2012   NPCv.Kelleher                                                     Defendant   Supervision,SellingAway         Affidavit
                                          PlymouthMA
                                          SuperiorCourt,Los                                                            TrialTestimony,
2010   Ohanessianv.SWAT                                                  Defendant   Disclosure,MarketManipulation
                                          AngelesCA                                                                     ExpertReport
                                          SuperiorCourt,San
2003   Ortegav.Paloma                                                   Plaintiff   SaleofUnregisteredSecs         Declaration
                                          Diego,CA
                                                                                                                         ExpertReport,
2008   Prousalisv.CohenMilstein        DCSuperiorCourt                Plaintiff   Suitability,Supervision
                                                                                                                         Testimony
                                          MontgomeryCounty
2002   Toomeyv.DeutscheBank                                             Plaintiff   Rule144                          ExpertReport
                                          MDCircuitCourt
                                          SuperiorCourtGila
2003   Tuckerv.Graves                                                   Plaintiff   Supervision,SellingAway         ExpertReport
                                          County,AZ
                                                                                                                         ExpertReport,
2010   UBSv.HighlandCapital            SupremeCourtNY                 Defendant   Supervision,InsiderTrading
                                                                                                                         Deposition



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Year   CaseName                          Proceeding                       Party        Subject                              Appearance

1998   Vernierov.Brennan                NJStateCourtESXͲCͲ243Ͳ95 Plaintiff         MarketManipulation,Markups         ExpertReport

                                          SuperiorCourtofthe
2011   Warfieldv.OptionsXpress                                           Plaintiff    Supervision                          ExpertReport
                                          StateofArizona
                                          CircuitCourtofFairfax
2014   Xybernautv.TroutmanSanders                                       Plaintiff    Damages,SummaryWitness             Deposition
                                          County,VA
                                          CircuitCourtof
2015   Zenkerv.Sapere                                                    Plaintiff    Suitability                          ExpertReport
                                          AlbemarleCo(VA)
                                          SECAdministrative                                                                 ExpertReport,
2014   SECv.Anthony(McGinnSmith)                                       Plaintiff    DueDiligence,Supervision
                                          Proceeding                                                                         TrialTestimony
                                          SECAdministrative                                                                 ExpertReport,
2010   SECv.Bloomfield                                                   Plaintiff    Supervision
                                          Proceeding                                                                         TrialTestimony
                                          SECAdministrative                                                                 ExpertReport,
2005   SECv.Initio(JamesPatten)                                        Plaintiff    MarketManipulation
                                          Proceeding                                                                         Testimony
                                          SECAdministration                            BrokerDealerRegistration,
2015   SECv.IronridgeGlobalPartners                                    Plaintiff                                         ExpertReport
                                          Proceeding                                    Underwriters
                                          SECAdministrative                                                                 ExpertReport,
1999   SECv.KirkMontgomery                                              Defendant    Supervision
                                          Proceeding                                                                         TrialTestimony
                                          SECAdministrative
1996   SECv.OsborneStern                                                Plaintiff    Markups                              Consultant
                                          Proceeding
                                          SECAdministrative                                                                 ExpertReport,
2000   SECv.Richmark                                                     Plaintiff    MarketManipulation,Disclosure
                                          Proceeding                                                                         Testimony
                                          ArkansasSecs                                                                      ExpertReport,
2015   ARv.StBernard                                                    Defendant    Suitability
                                          Commissioner                                                                       Deposition

1998   ContinuationofDennisMilewitz    NASDProceeding                  Defendant    Supervision                          Testimony

2011   DOEv.DavidA.LernerCo          FINRAEnforcement                Defendant    Markups                              Testimony

1999   DynamotiveTechnologies            NASDAQProceeding                Defendant    MarketManipulation,ShortSelling ExpertReport

                                          StateofFL,Administrative
2012   FLv.PrimeCapital                                                 Plaintiff    Misrepresentation,Suitability       Deposition
                                          Hearings

1997   NASDv.Int'lTradingGroup       NASDArbitration                 Defendant    Markups                              Testimony

2006   NASDv.KennethPasternak          NASDProceeding                  Defendant    Supervision                          ExpertReport

2001   NASDv.PacificDayTrading        NASDProceeding                  Defendant    Advertising                          TrialTestimony

2014   Agnerv.FSC                       FINRAArbitration                Claimant     Supervision,SellingAway            Testimony

2003   Alderdicev.FerrisBakerWatts    NASDArbitration                 Claimant     Suitability,Churning,Supervision   Testimony

2003   Allenv.FirstUnion              NASDArbitration                 Respondent   Supervision                          Testimony

2017   Allenv.RaymondJames             FINRAArbitration                Claimant     Supervision,SellingAway            Testimony

2009   AlmasTemplev.M&TSecs           FINRAArbitration                Claimant     Suitability,Supervision             Testimony

2015   Aloisev.TridentSecs             FINRAArbitration                Claimant     Conversion,Supervision              Testimony




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2017   Amadorv.UBSͲPR                 FINRAArbitration          Claimant       Suitability,Supervision           Testimony

2016   Amesv.RBC                      FINRAArbitration          Claimant       Supervision                        Testimony

2005   AndersonTrustv.MorganStanley NASDArbitration           Claimant       Suitability                        Testimony

2003   Andrewsv.BearStearns         NASDArbitration           Claimant       MarketManipulation                Testimony

2003   Apprendiv.MerrillLynch       NYSEArbitration           Claimant       Suitability,Supervision           Testimony

2015   Aukoferv.Baerenz               FINRAArbitration          Claimant       Suitability,Supervision           Testimony

2009   Azmounv.Scott&Stringfellow   FINRAArbitration          Claimant       Supervision,SellingAway          Testimony

                                                                                  Suitability,Supervision,
2011   Bakerv.MerrillLynch           FINRAArbitration          Claimant                                          Testimony
                                                                                  CommunicationwiththePublic

2015   Banafschev.RobertBaird        FINRAArbitration          Respondent     Suitability,Supervision           Testimony

2006   Baronev.Carlin                 NASDArbitration           Claimant       Supervision,SellingAway          Testimony

2017   Barrosv.UBSͲPR                 FINRAArbitration          Claimant       Suitability,Supervision           Testimony

2006   Beckerv.GlobalCrownCapital   NASDArbitration           Respondent     Suitability                        Testimony

2004   Bedfordv.MorganStanley        NASDArbitration           Claimant       Suitability,Supervision           Testimony

2008   Belaidv.JMFG                   FINRAArbitration          Claimant       Suitability,Supervision           Testimony

2013   BKRv.Cantella                  FINRAArbitration          Claimant       Suitability,Supervision           Testimony

2014   BlueBankv.HSBC                FINRAArbitration          Claimant       Suitability                        Testimony

2012   Bluegrassv.Santander           FINRAArbitration          Claimant       Disclosure,Suitability            Testimony

1998   Boechev.SterlingFoster        NASDArbitration           Claimant       MarketManipulation                Testimony

2012   Boylesv.Wachovia               FINRAArbitration          Claimant       Suitability,Supervision           Testimony

2009   Branchv.UnitedSecs            FINRAArbitration          Claimant       DueDiligence                      Testimony

                                                                                  ClearingFirmLiability,Market
2000   Bridgesv.BearStearns          NASDArbitration           Claimant                                          Testimony
                                                                                  Manipulation

2005   Brownv.Kirlin                  NASDArbitration           Claimant       MarketManipulation,               Testimony

2013   Buchananv.Primerica            FINRAArbitration          Claimant       CommunicationswithPublic         Testimony

2005   Buehlv.LeggMason              NASDArbitration           Claimant       Suitability,Supervision           Testimony

2003   Buntemeyerv.Investacorp       NASDArbitration           Respondent     Supervision,Suitability           Testimony




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2012   Burgosv.BancoPopular          FINRAArbitration          Claimant       Suitability                          Testimony

2018   Cadillav.PopularSecurities    FINRAArbitration          Claimant       Suitability,Supervision             Testimony

2015   CameronKnightv.Calton         FINRAArbitration          Claimant       Suitability,Supervision             Affidavit

2002   Casteleinv.Wachovia            NASDArbitration           Claimant       SupervisionandClearingBDLiability Testimony

2008   Cavalierev.MorganStanley      FINRAArbitration          Claimant       Supervision                          Testimony

2004   Changv.Citigroup               NASDArbitration           Claimant       Suitability,Supervision             Testimony

2012   Chickillov.RaymondJames       FINRAArbitration          Claimant       Supervision,SellingAway            Testimony

2007   CircleTv.BancofAmerica      NYSEArbitration           Respondent     Supervision,PrimeBrokerage         Testimony

2010   Citronv.BBVA                   FINRAArbitration          Claimant       Supervision,SellingAway            Testimony

2002   Cohenv.Fereydouni              NASDArbitration           Respondent     Suitability                          Testimony

2010   Colcoloughv.UBS                FINRAArbitration          Claimant       Suitability                          Testimony

2017   Conwayv.JoycePayne             AAAArbitration            Claimant       Suitability,Supervision             Testimony

2014   Cookv.CrownCapital            FINRAArbitration          Claimant       Supervision                          Testimony

2006   Cooperv.BearStearnsetal.    NASDArbitration           Claimant       Supervision                          Testimony

2012   Couturierv.MerrillLynch       FINRAArbitration          Claimant       Suitability,Supervision             Testimony

                                                                                  Suitability,SupervisionandClearing
2002   Crosbyv.HamptonPorter         NASDArbitration           Claimant                                              Testimony
                                                                                  firmliability

2017   Cummingsv.UBSͲPR               FINRAArbitration          Claimant       Suitability,Supervision             Testimony

2009   Cusackv.Schwab                 FINRAArbitration          Claimant       Suitability                          Testimony

2002   Daughertyv.WashingtonSquare   NASDArbitration           Respondent     Supervision,SellingAway            Testimony

2007   Deeringv.GunnAllen            NASDArbitration           Claimant       Churning                             Testimony

2013   Dickauv.MorganStanley         FINRAArbitration          Claimant       Supervision,SellingAway            Testimony

                                                                                  Suitability,Supervision,Selling
2014   Dicksonv.GoldenBeneficial     FINRAArbitration          Claimant                                            Testimony
                                                                                  Away

2004   DiRussov.MerrillLynch         NASDArbitration           Claimant       Suitability,Supervision             Testimony

2004   DLJv.Schrock                   NASDArbitration           Respondent     SaleofRestrictedSecs              Testimony

2018   EFCOv.CLKing                 FINRAArbitration          Claimant       Supervision                          Testimony




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2016   Ehrenspeckv.Lightspeed         FINRAArbitration          Claimant       Supervision                       Testimony

2010   Eisensteinv.HBeck             FINRAArbitration          Claimant       Suitability,Supervision          Testimony

2006   Engelv.Ladenburg               NASDArbitration           Respondent     Suitability,Supervision          Testimony

2004   ESCAMv.MorganStanley          NASDArbitration           Claimant       Suitability,Supervision          Testimony

2003   Faganv.Prudential             NASDArbitration           Claimant       BestExecution,Supervision      Testimony

1998   Faxonv.DeanWitter             NASDArbitration           Claimant       Suitability                       Testimony

2016   Fernandezv.UBSͲPR              FINRAArbitration          Claimant       Suitability,Supervision          Testimony

2016   Fernandezv.UBSͲPR              FINRAArbitration          Claimant       Suitability,Supervision          Testimony

1998   Fierov.Waldron                 NASDArbitration           Respondent     MarketManipulation,ShortSelling Testimony

2001   Fliegelv.Schwab                NASDArbitration           Respondent     BestExecution                    Testimony

2001   FontanavWashingtonSquare      NASDArbitration           Respondent     Supervision,SellingAway         Testimony

       Francoisv.DallasResearch&
1998                                    NASDArbitration           Claimant       MarketManipulation               Testimony
       Trading

1998   Franklinv.MorganKeegan        NASDArbitration           Claimant       Supervision,SellingAway         Testimony

1998   Gammonv.PaineWebber            NASDArbitration           Claimant       Misrepresentation                 Testimony

2015   Geiersbachv.Ameriprise         FINRAArbitration          Claimant       Suitability,Supervision          Testimony

2004   Gilillandv.FinancialWest      NASDArbitration           Claimant       Suitability,Supervision          Testimony

2008   Gilmanv.MorganKeegan          FINRAArbitration          Claimant       Suitability,Supervision          Testimony

2000   Gislerv.Josephthal             NASDArbitration           Respondent     Suitability                       Testimony

2015   GlennyWhitev.Ameriprise       FINRAArbitration          Claimant       Supervision                       Testimony

2009   Glontiv.RBCDain               FINRAArbitration          Claimant       Suitability,Supervision          Testimony

2018   Gnocchiv.UBSͲPR                FINRAArbitration          Claimant       Suitability,Supervision          Testimony

2004   Gontramv.SalomonSmithBarney NASDArbitration            Claimant       Suitability,Supervision          Testimony

2016   Gorguzev.C.L.King            FINRAArbitration          Claimant       Supervision                       Testimony

2012   Gracev.Brookville              FINRAArbitration          Claimant       Suitability,Damages              Testimony

2009   Grassov.MerrillLynch          FINRAArbitration          Claimant       Supervision                       Testimony




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1998   Greenbergv.BearStearns        NASDArbitration           Claimant       ClearingFirmLiability                Testimony

2016   Greenev.MerrillLynch          FINRAArbitration          Claimant       Suitability,Supervision               Affidavit

2002   Grivasv.Bluestone              NASDArbitration           Claimant       Suitability,Supervision               Testimony

2002   Hardyv.WalshManning           NASDArbitration           Respondent     MarketManipulation,Suitability       Testimony

2015   Hayesv.Crawford                FINRAArbitration          Claimant       Supervision,SellingAway              Testimony

2010   Hellyerv.Citigroup             FINRAArbitration          Claimant       Suitability,Supervision               Testimony

2006   Henleyv.WalnutStreetSecs     NASDArbitration           Claimant       Supervision,SellingAway              Testimony

2017   Hernandezv.UBSͲPR              FINRAArbitration          Claimant       Suitability,Supervision               Testimony

2014   HillcrestChildren’sCenter      FINRAArbitration          Claimant       Supervision                            Testimony

                                                                                  ShortSelling,Conversion,
2013   HITEv.SMH                      FINRAArbitration          Claimant                                              Testimony
                                                                                  Misrepresentation

2011   Hixv.ProEquities               FINRAArbitration          Claimant       Supervision,SellingAway              Testimony

2015   Hobbyv.WellsFargo             FINRAArbitration          Claimant       Suitability                            Testimony

2007   Honeav.RaymondJames           FINRAArbitration          Claimant       Suitability,Supervision               Testimony

2010   Hungerfordv.JohnstonLemon     FINRAArbitration          Claimant       UnauthorizedTrading                   Testimony

2007   IFGv.UBS                       NASDArbitration           Claimant       Supervision,RecordKeeping            Testimony

2002   Infantolinov.AGEdwards        NYSEArbitration           Claimant       Suitability,Churning,Supervision     Testimony

                                                                                  BestExecution,PaymentforOrder
2009   Interactivev.Petra             FINRAArbitration          Respondent                                        Testimony
                                                                                  Flow

2005   Jacobsv.SalomonSmithBarney   NASDArbitration           Claimant       Suitability                            Testimony

2008   Jamousv.Wachovia               FINRAArbitration          Claimant       Supervision(Commodities)              Testimony

2006   Kaltenbacherv.MorganKeegan    NASDArbitration           Claimant       Supervision,SellingAway              Testimony

                                                                                  Suitability,Supervision,Churning,
2004   Keillyv.SandsBrothers         NASDArbitration           Claimant                                              Testimony
                                                                                  UnauthorizedTrading

2005   Kennedyv.MerrillLynch         NASDArbitration           Claimant       Suitability,Supervision               Testimony

2014   Kerrv.JohnThomasFinancial    FINRAArbitration          Claimant       Suitability,Churning,Supervision     Testimony

2002   Kesslerv.EdwardD.Jones     NASDArbitration           Claimant       Conversion,Supervision                Testimony

                                                                                  BestExecution,ClearingBroker
2003   Kesslerv.Lehman               AAAArbitration            Claimant                                              Testimony
                                                                                  Dealers



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2010   Kilbanev.FerrisBakerWatts   FINRAArbitration         Claimant        Suitability                     Testimony

2008   Kirkv.TDWaterhouse           FINRAArbitration         Claimant        BestExecution,Supervision     Testimony

2008   Klaasv.CharlesSchwab         FINRAArbitration         Claimant        Conversion,Supervision         Testimony

2005   Kouzmanoffv.Ameritrade        NASDArbitration          Claimant        Supervision                     Testimony

2004   Kurthv.RobertBairdSecs      NASDArbitration          Claimant        Suitability,Supervision        Testimony

2013   Kuryv.SantanderSecs          FINRAArbitration         Claimant        Suitability,Supervision        Testimony

2010   LaCavav.UBS                   FINRAArbitration         Claimant        FormUͲ5                        Testimony

2006   Lambertv.AGEdwards          NASDArbitration          Claimant        Suitability,Supervision        Testimony

2013   Lamoreauxv.MMS                FINRAArbitration         Claimant        Supervision,SellingAway       Testimony

2009   Lanfearv.GCC                  FINRAArbitration         Respondent      ExcessiveTrading               Testimony

2015   Langv.PrimeSolutions         FINRAArbitration         Claimant        Supervision,SellingAway       Testimony

2010   Langv.Wachovia                FINRAArbitration         Claimant        Suitability                     Testimony

2000   Lariseyv.Schwab               NASDArbitration          Claimant        BestExecution                  Testimony

2011   Lehnerv.AlphineSecs          FINRAArbitration         Claimant        BestExecution                  Testimony

2007   Lewisv.UBS                    FINRAArbitration         Claimant        Supervision                     Testimony

                                                                                                                 Testimony,Expert
2011   Liebermanv.MorganKeegan      FINRAArbitration         Claimant        DueDiligence
                                                                                                                 Report

2018   Livengoodv.WellsFargo        FINRAArbitration         Claimant        Suitability,Supervision        Testimony

2003   Loudv.Schild                 NASDArbitration          Respondent      Supervision                     Testimony

                                                                                 Supervision,ResearchAnalyst
2006   Lyonsv.MerrillLynch          NASDArbitration          Claimant                                        Testimony
                                                                                 Disclosure
                                                                                 CommunicationswithPublic,
2011   Madhokv.CharlesSchwab        FINRAArbitration         Claimant                                        Testimony
                                                                                 Misrepresentation

2003   Maltzv.MorganStanley        NYSEArbitration          Claimant        Suitability                     Testimony

2009   Mandellv.Fidelity             FINRAArbitration         Claimant        Supervision                     Testimony

1998   Margulisv.DukeSecs           NASDArbitration          Claimant        MarketManipulation             Testimony

2003   Maxwellv.H&RBlock           NASDArbitration          Claimant        Suitability,Markups           Testimony

       McCaskillv.RaymondJames
2014                                   FINRAArbitration         Claimant        FormUͲ5                        Testimony
       Financial



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                                                                                   Suitability,Churning,Supervision,
2003   McLeodv.Josephthal            NASDArbitration               Claimant                                            Testimony
                                                                                   UnauthorizedTrading

2005   Meierv.Scott&Stringfellow   NASDArbitration               Claimant     Suitability,Supervision               Testimony

2011   Mekelburgv.ProEquities       FINRAArbitration              Plaintiff    Supervision,SellingAway              Testimony

2016   Mercedv.UBSͲPR                FINRAArbitration              Claimant     Suitability,Supervision               Testimony

                                                                                   FormUͲ4andUͲ5Reporting
2002   MerrillLynchv.Berry          NASDArbitration               Respondent                                          Testimony
                                                                                   Obligations

2012   MerrillLynchv.Horvath        FINRAArbitration              Respondent   ShortSelling,Supervision             Testimony

                                                                                   Suitability,Supervision,
2012   Mirabelliv.MerrillLynch      FINRAArbitration              Claimant                                            Testimony
                                                                                   CommunicationwiththePublic
       MoveIncv.Citigroup
2009                                   FINRAArbitration              Claimant     AuctionRateSecs                      Testimony
       Management

2008   Murphyv.JamesPatten          FINRAArbitration              Claimant     Suitability,Supervision               Testimony

1998   Nahassv.SterlingFoster       NASDArbitration               Claimant     MarketManipulation                    Testimony

2007   Neev.BancofAmerica          FINRAArbitration              Claimant     FormUͲ5                               Testimony

2002   Nicklosv.WashingtonSquare    NASDArbitration               Respondent   Supervision,SellingAway              Testimony

2008   Nigohosianv.TDWaterhouse     FINRAArbitration              Claimant     BestExecution,Supervision            Testimony

2007   Nigohsianv.MerrillLynch      FINRAArbitration              Claimant     BestExecution,Supervision            Testimony

2017   Nobilisv.CORClearing         FINRAArbitration              Claimant     Conversion,Supervision                Testimony

                                                                                   Suitability,Supervision,
2014   Ontonimov.BNPParibasSecs    FINRAArbitration              Claimant                                            Testimony
                                                                                   CommunicationwiththePublic

2009   Orlandov.Citigroup            FINRAArbitration              Claimant     Supervision                            Testimony

                                                                                   MarketManipulation,Best
2011   Othellov.Penson               FINRAArbitration              Claimant                                            Testimony
                                                                                   Execution

2007   Pankeyv.UBS                   NASDArbitration               Claimant     FormUͲ5,TerminationforCause        Testimony

2002   Parkv.Prudential              NASDArbitration               Claimant     Suitability                            Testimony

2017   Pattersonv.Ladenburg          FINRAArbitration              Claimant     ExcessiveTrading                      Testimony

                                       PacificStockExchange
2002   Pelosiv.BankofAmerica                                      Claimant     Suitability                            Testimony
                                       Arbitration

2017   Pesantev.UBSͲPR               FINRAArbitration              Claimant     Suitability,Supervision               Testimony

2012   Pitchv.Oppenheimer            FINRAArbitration              Claimant     Supervision,SellingAway              Testimony

2003   Quinnv.MerrillLynch         NASDArbitration               Claimant     Suitability,Supervision               Testimony




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2005   Raitportv.SalomonSmithBarney NASDArbitration           Claimant        Supervision                            Testimony

                                                                                                                          Testimony,Expert
2011   Ramirezv.MorganKeegan          FINRAArbitration         Claimant        DueDiligence,Supervision
                                                                                                                          Report

2011   Reddyv.Ogilvie                  FINRAArbitration         Claimant        Supervision                            Testimony

2004   Richardsv.MorganStanley        NASDArbitration          Claimant        Suitability,Supervision               Testimony

1999   Robinsv.MonroeParker           NASDArbitration          Claimant        MarketManipulation                    Testimony

2013   Rodriguezv.BBVA                 FINRAArbitration         Claimant        Suitability,Supervision               Testimony

2014   Rodriguezv.RBC                  FINRAArbitration         Claimant        Disclosure                             Testimony

2017   Rodriguezv.UBSͲPR               FINRAArbitration         Claimant        Suitability,Supervision               Testimony

2010   Rosev.AXA                       FINRAArbitration         Claimant        Suitability                            Testimony

1999   Rowleyv.HarrimanGroupInc      NASDArbitration          Claimant        MarketManipulation                    Testimony

2012   Ruizv.Revoal                    FINRAArbitration         Respondent      Supervision                            Testimony

2011   Rungev.Citigroup                FINRAArbitration         Claimant        Suitability,Supervision               Testimony

2002   Russellv.Prudential             NASDArbitration          Claimant        Suitability,Supervision               Testimony

       Schmalzv.LadenburgCapital                                              Suitability,Churning,Unauthorized
2003                                     NASDArbitration          Claimant                                             Testimony
       Management                                                                  Trading,Supervision
                                                                                   Suitability,Structured
2010   Schneiderv.FrankRutan          FINRAArbitration         Claimant                                               Testimony
                                                                                   Products

2003   Schulzv.SecsAmerica           NASDArbitration          Respondent      Supervision                            Testimony

                                                                                   Suitability,Churning,Supervision,
2003   Schwartzv.JPMorganSecs        NASDArbitration          Claimant                                               Testimony
                                                                                   UnauthorizedTrading

2014   Sciscoev.FSCSecs               FINRAArbitration         Claimant        Suitability,Disclosure                Testimony

2017   Sextonv.Grimes                  FINRAArbitration         Respondent      MarketManipulation                    Testimony

                                                                                                                          Affidavit,
2007   Shamiv.DainRauscher            NASDArbitration          Claimant        Supervision
                                                                                                                          Declaration

2017   Shawv.Roosevelt&Cross         FINRAArbitration         Respondent      Suitability,Supervision               Testimony

2003   Shiryv.Painewebber             NASDArbitration          Claimant        Suitability                            Testimony

2009   Shorev.Citigroup                FINRAArbitration         Claimant        Suitability,Supervision               Testimony

                                                                                                                          Affidavit,
2007   Shorev.DainRauscher            NASDArbitration          Claimant        Supervision
                                                                                                                          Declaration

1998   Shortv.SterlingFosteretal.   NASDArbitration          Claimant        MarketManipulation                    Testimony



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                                                      ListofCasesͲ3/27/2018


Year   CaseName                        Proceeding                Party           Subject                              Appearance
       Silbermanv.SalomonSmith
2005                                    NASDArbitration          Claimant        Suitability,Supervision             Testimony
       Barney

2010   Sleightv.Centaurus             FINRAArbitration         Claimant        Supervision,SellingAway            Testimony

2002   Smithv.GainesBerland          NASDArbitration          Claimant        Suitability,Supervision             Testimony

2013   Smithv.Primerica               FINRAArbitration         Claimant        CommunicationswithPublic           Testimony

2017   Staubv.MorganStanley          FINRAArbitration         Claimant        Suitability,Supervision             Testimony

2000   Steinv.Josephthal              NASDArbitration          Defendant       Supervision,SellingAway            Testimony

2000   Stewartv.KeoglerMorgan        NASDArbitration          Claimant        Compensation                         Testimony

2017   Strublev.RaymondJames         FINRAArbitration         Claimant        Suitability,Supervision             Affidavit

2004   TaylorTrustv.MerrillLynch    NASDArbitration          Claimant        Suitability,Supervision             Testimony

2013   Thistlev.EKN                   FINRAArbitration         Claimant        Suitability,ExcessiveTrading       Testimony

                                                                                  ClearingFirmLiability,Market
2000   Torsiellov.SterlingFoster     NASDArbitration          Claimant                                             Testimony
                                                                                  Manipulation
                                                                                  Misrepresentation,                  Testimony,
2011   Treichelv.CharlesSchwab       FINRAArbitration         Claimant
                                                                                  CommunicationswithPublic           Affidavit

2014   Troutmanv.JosephGunnar        FINRAArbitration         Claimant        Suitability,Churning,Supervision   Testimony

2005   Tunisv.SalomonSmithBarney    NASDArbitration          Claimant        Suitability,Supervision             Testimony

2014   Ursov.CommonwealthFinancial   FINRAArbitration         Claimant        Supervision,SellingAway            Testimony

                                                                                  MarketManipulation,FormUͲ5
2005   VanPeltv.UBS                  NASDArbitration          Claimant                                             Testimony
                                                                                  Disclosures
       VCGSpecialOpportunitiesv.
2013                                    FINRAArbitration         Claimant        Suitability                          Testimony
       CGMI

2001   Vellonev.FirstUnion           AAAArbitration           Claimant        Conversion,Supervision              Testimony

2016   Vizcarrondov.UBSPR            FINRAArbitration         Claimant        Suitability,Supervision             Testimony

                                                                                  CommunicationswithPublic,
2011   Vollstedtv.CharlesSchwab      FINRAArbitration         Claimant                                             Testimony
                                                                                  Misrepresentation
                                                                                  CommunicationswithPublic,
2011   Wattsv.CharlesSchwab          FINRAArbitration         Claimant                                             Testimony
                                                                                  Misrepresentation

2015   Westmorelandv.FSC              FINRAArbitration         Claimant        Supervision,SellingAway            Testimony

2012   Wiltonv.Wachovia               FINRAArbitration         Claimant        Suitability                          Testimony

2004   Wissnerv.FinAtlantic          NASDArbitration          Claimant        Suitability,Supervision             Testimony

2000   Wrightv.May&Co.              NASDArbitration          Claimant        Suitability                          Testimony




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                                              ListofCasesͲ3/27/2018


Year   CaseName                Proceeding                Party           Subject                        Appearance
                                                                          CommunicationswithPublic,
2011   Youngv.DeutscheBank   FINRAArbitration         Claimant                                       Testimony
                                                                          Misrepresentation




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Summary of MEG Acquisitions and Sales                                                                       Summary Exhibit 1

                                                      Debt
                                       First Debt               Toal Shares       Total Shares       First Sale   Last Sale     Sale
 Issuer                                             Purchase
                                       Purchase                  Deposited            Sold              Date        Date      Proceeds
                                                    Amount
ALUF HOLDINGS INC                      01/07/16       $75,000    704,064,284       572,465,284 01/13/16           06/27/16    $141,425
AXXESS PHARMA INC                      07/28/16       $10,000                 0                  0                                  $0
BULOVA TECHNOLOGY                      07/09/16       $25,000      4,700,000         4,700,000 07/28/16           07/29/16      $15,334
CD INT'L ENTERPRISES INC               04/15/16       $25,000    111,863,635       111,863,635 04/27/16           05/16/16      $53,496
DANIELS CORP ADVISORY                  12/07/15       $45,000     92,476,601        92,476,601 12/16/15           01/06/16    $106,046
DEWMAR INT'L BMC INC                   12/10/13       $17,500     52,857,142        52,857,142 02/19/14           11/18/14    $396,418
EAST COAST DIVERSIFIED                 03/27/14       $25,000    500,000,000       500,000,000 04/24/14           06/11/14      $49,250
ELRAY RES INC                          02/24/15       $20,000     25,000,000           172,600 12/04/15           12/04/15       $1,087
ENERGY REVENUE AMERICA INC    1        08/18/14        $1,000     22,000,000        22,000,000 05/19/14           05/31/16      $29,000
EYES ON THE GO INC                     02/28/14       $14,676     36,690,000        36,690,000 04/14/14           04/15/14      $64,877
GOLD & SILVER MINING OF NEVADA INC     06/04/15       $69,841    598,758,680       598,758,680 06/16/15           11/25/15      $31,445
GOLD AND GEMSTONE MINING INC           10/30/14       $11,000    161,300,000       161,300,000 12/03/14           04/24/15    $144,416
GREEN ENERGY ENTERPRISES / QUASAR      10/17/14       $40,000    385,527,272       385,527,272 12/19/14           04/08/16    $105,462
GREENFIELD FARMS FOOD INC              08/17/15        $6,250      8,330,000         8,330,000 09/04/15           09/04/15       $1,641
GRID PETROLEUM / SIMLATUS CORP         10/15/15       $16,000    324,560,000       324,560,000 10/28/15           04/27/16      $39,438
GRILLIT INC                            10/17/14       $21,500    331,011,194       331,011,194 11/24/14           12/08/15    $105,443
HALBERD CORPORATION                    01/31/13       $15,000      1,500,000         1,500,000 07/17/13           07/25/13      $19,492
HALITRON INC                           07/01/16       $20,184     25,230,125        12,892,155 07/22/16           07/29/16      $30,997
HEALTHNOSTICS INC                      04/17/14        $1,000    100,000,000        94,551,357 08/06/14           06/16/15      $10,790
HYBRID COATING TECHNOLOGIES            07/01/15       $32,000     26,820,306        26,820,306 07/15/15           12/07/15    $119,906
IN OVATIONS HOLDING INC                03/07/14       $55,000    367,500,000       367,500,000 04/08/14           04/10/15    $132,393
INDO GLOBAL EXCHANGE(S)                10/29/15       $18,049    115,000,000       115,000,000 10/19/15           12/23/15      $47,334
INOLIFE TECHNOLOGIES INC               02/12/14       $20,000    136,500,000       136,500,000 12/23/14           04/10/15      $13,356
INTERNETARRAY INC                      06/16/14        $6,000    975,000,000       423,623,198 04/16/14           12/05/14      $86,840
LAS VEGAS RAILWAYS                     11/24/14       $66,800    522,215,986       522,215,986 12/23/14           06/22/15    $143,592
LIG ASSETS INC                         10/23/14       $50,000    298,214,285       298,214,285 11/24/14           06/01/15      $93,733


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Summary of MEG Acquisitions and Sales                                                                                Summary Exhibit 1

                                                              Debt
                                               First Debt                Toal Shares       Total Shares       First Sale   Last Sale     Sale
    Issuer                                                  Purchase
                                               Purchase                   Deposited            Sold              Date        Date      Proceeds
                                                            Amount
MEDICAL CARE TECHNOLOGIES                       01/23/14        $9,282     102,864,000      102,864,000 05/08/14           06/27/14      $24,484
MINING GLOBAL INC                               07/02/14       $14,000     280,000,000      280,000,000 08/15/14           08/15/14      $28,000
                 2
MYCHECK INC                                     09/14/15       $47,176      60,000,000       60,000,000 04/23/14           09/11/14    $1,323,679
NEXT GALAXY CORP                                12/22/15       $30,000      72,600,000       72,600,000 12/29/15           01/19/16      $40,101
NORTH AMERICAN CANNABIS HOLDINGS                03/02/16       $15,000                 0                  0
PM&E INC                                        02/02/15       $12,500                 0                  0
POTNETWORK HOLDINGS INC                         07/31/15       $25,000     301,000,000      301,000,000 09/09/15           05/04/16      $47,287
PPJ HEALTHCARE ENTERPRISES                      01/22/14      $155,255   1,041,721,620      967,701,041 03/26/14           02/19/16     $315,183
SANOMEDICS INT'L HOLDINGS INC                   10/28/15       $60,000      81,700,016       81,700,016 11/03/15           04/07/16      $59,719
SEVEN ARTS ENTERTAINMENT INC                    10/28/14       $15,000     300,000,000      300,000,000 05/15/15           05/19/15      $63,843
URBAN AG CORP                                   11/04/13       $25,000     247,000,000      247,000,000 11/18/13           01/13/14      $63,283
TOTALS                                                      $1,115,013   8,414,005,146     7,614,394,752                               $3,885,508



1   MEG's proceeds from the sale of 22 million ERAO shares totaled approximately $29,000
2   MEG wired $1 million to GreenPay LLC for the purchase 60 Million shares - $450,000 on 6/5/2014 and $550,000 on 7/22/2014




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                SUMMARY EXHIBIT 2.0
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MEG Transactions and Days Held Detail                                                                                                                                        Summary Exhibit 2.0

                                                            (1)                                    (2)            (3)                                                  (4)
                                                           Debt         Debt
                                                Ticker                            Bloomberg                     Quantity    Days Held                  Date First   Date Last    Days Held Total Days
   Date       Issuer                                     Purchase     Purchase                 Deposit Date                            Quantity Sold
                                                Symbol                           Closing Price                 Deposited     (2) - (1)                   Sale         Sale        (4) - (3)   Held
                                                           Date        Amount
  1/7/2016    ALUF HOLDINGS INC                  AHIX     1/7/2016    $25,000      $0.0028      1/13/2016     14,500,000        7       14,500,000     1/13/2016    1/14/2016        2         9
 1/15/2016    ALUF HOLDINGS INC                  AHIX                              $0.0010      1/15/2016     16,000,000                16,000,000     1/15/2016    1/15/2016       1          1
 1/19/2016    ALUF HOLDINGS INC                  AHIX                              $0.0008      1/19/2016     13,928,571                13,928,571     1/19/2016    1/20/2016       2          2
 1/21/2016    ALUF HOLDINGS INC                  AHIX                              $0.0010      1/21/2016      6,857,142                 6,857,142     1/21/2016    1/21/2016       1          1
 1/24/2016    ALUF HOLDINGS INC                  AHIX    1/24/2016    $50,000      $0.0000      1/26/2016     13,928,571        3       13,928,571     1/26/2016    1/28/2016        3         6
  2/2/2016    ALUF HOLDINGS INC                  AHIX                              $0.0005       2/2/2016     17,857,142                17,857,142      2/2/2016     2/2/2016       1          1
  2/5/2016    ALUF HOLDINGS INC                  AHIX                              $0.0004       2/5/2016     13,392,858                11,538,000     2/10/2016    2/11/2016       7          7
 2/12/2016    ALUF HOLDINGS INC                  AHIX                              $0.0002      2/12/2016     45,000,000                46,854,858     2/12/2016    2/16/2016       5          5
 2/17/2016    ALUF HOLDINGS INC                  AHIX                              $0.0003      2/17/2016     22,600,000                22,600,000     2/22/2016    2/24/2016       8          8
  3/1/2016    ALUF HOLDINGS INC                  AHIX                              $0.0001       3/1/2016     60,000,000                60,000,000      3/3/2016     3/9/2016       9          9
 3/21/2016    ALUF HOLDINGS INC                  AHIX                              $0.0002      3/21/2016     90,000,000                90,000,000     3/21/2016    3/30/2016       10         10
  4/5/2016    ALUF HOLDINGS INC                  AHIX                              $0.0002       4/5/2016     90,000,000                90,000,000      4/5/2016     4/5/2016       1          1
 4/21/2016    ALUF HOLDINGS INC                  AHIX                              $0.0001      4/21/2016     100,000,000               100,000,000    4/21/2016    4/21/2016       1          1
  6/2/2016    ALUF HOLDINGS INC                  AHIX                              $0.0001       6/2/2016     200,000,000               68,401,000      6/2/2016    6/27/2016       26         26
 7/28/2016    AXXESS PHARMA INC                  ALST    7/28/2016    $10,000
  7/9/2016    BULOVA TECHNOLO                    BTGI     7/9/2016    $25,000      $0.0000       7/9/2016      4,700,000        1        4,700,000     7/28/2016    7/29/2016       21         22
 4/15/2016    CD INT'L ENTERPRISES INC           CDII    4/15/2016    $25,000      $0.0019      4/15/2016     111,863,635       1       111,863,635    4/27/2016    5/16/2016       32         33
 12/7/2015    DANIELS CORP ADVISORY              DCAC    12/7/2015    $20,000      $0.0032      12/7/2015     31,584,545        1       31,584,545     12/16/2015 12/22/2015        16         17
 12/23/2015   DANIELS CORP ADVISORY              DCAC    12/23/2015   $25,000      $0.0015      12/23/2015    60,892,056        1       60,892,056     12/24/2015    1/6/2016       15         16
 12/10/2013   DEWMAR INT'L BMC INC               DEWM    12/10/2013   $17,500      $0.0002      1/30/2014     52,857,142       52       52,857,142     2/19/2014    11/18/2014     293        345
 3/27/2014    EAST COAST DIVERSIFIED             ECDC    3/27/2014    $25,000      $0.0002      3/27/2014     500,000,000       1       500,000,000    4/24/2014    6/11/2014       77         78
 2/24/2015    ELRAY RES INC                      ELRA    2/24/2015    $20,000      $0.0003      2/24/2015     25,000,000        1         172,600      12/4/2015    12/4/2015      284        285
 4/22/2014    ENERGY REVENUE AMERICA INC         ERAO                              $0.0711      4/22/2014      3,000,000                 3,000,000     5/19/2014    11/7/2014      200        200
 8/18/2014    ENERGY REVENUE AMERICA INC         ERAO    8/18/2014     $1,000
 1/27/2015    ENERGY REVENUE AMERICA INC         ERAO                              $0.0160      1/27/2015      3,000,000                 3,000,000     2/17/2015     5/5/2015       99         99
 5/15/2015    ENERGY REVENUE AMERICA INC         ERAO                              $0.0126      5/15/2015      4,000,000                 4,000,000     5/18/2015    8/19/2015       97         97
  9/8/2015    ENERGY REVENUE AMERICA INC         ERAO                              $0.0000       9/8/2015      5,000,000                 5,000,000     9/10/2015    11/6/2015       60         60
 11/6/2015    ENERGY REVENUE AMERICA INC         ERAO                              $0.0099      11/6/2015      5,000,000                 5,000,000     11/6/2015    2/23/2016      110        110
  4/8/2016    ENERGY REVENUE AMERICA INC         ERAO                              $0.0055       4/8/2016      2,000,000                 2,000,000     5/25/2016    5/31/2016       54         54


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MEG Transactions and Days Held Detail                                                                                                                                              Summary Exhibit 2.0

                                                                  (1)                                    (2)            (3)                                                  (4)
                                                                 Debt         Debt
                                                      Ticker                            Bloomberg                     Quantity    Days Held                  Date First   Date Last   Days Held Total Days
   Date       Issuer                                           Purchase     Purchase                 Deposit Date                            Quantity Sold
                                                      Symbol                           Closing Price                 Deposited     (2) - (1)                   Sale         Sale       (4) - (3)   Held
                                                                 Date        Amount
 2/28/2014    EYES ON THE GO INC                      AXCG     2/28/2014    $14,676      $0.0008      3/21/2014     36,690,000       22       36,690,000     4/14/2014    4/15/2014      26         48
  6/4/2015    GOLD & SILVER MINING OF NEVADA INC      CJTF      6/4/2015    $15,000      $0.0500      6/12/2015     10,000,000        9       10,000,000     6/16/2015    6/16/2015       5         14
 6/22/2015    GOLD & SILVER MINING OF NEVADA INC      CJTF                               $0.0075      6/22/2015     39,583,333                39,583,333     6/29/2015    6/30/2015       9         9
  7/6/2015    GOLD & SILVER MINING OF NEVADA INC      CJTF                               $0.0034       7/6/2015     63,750,000                63,750,000      7/6/2015    7/9/2015        4         4
  7/9/2015    GOLD & SILVER MINING OF NEVADA INC      CJTF      7/9/2015    $19,841      $0.0032       7/9/2015     95,690,000        1       95,690,000     7/15/2015    7/16/2015       8         9
 8/12/2015    GOLD & SILVER MINING OF NEVADA INC      CJTF                               $0.0037      8/12/2015      470,448                    470,448      8/13/2015    8/21/2015      10         10
 8/19/2015    GOLD & SILVER MINING OF NEVADA INC      CJTF     8/19/2015    $20,000      $0.0005      8/25/2015      2,025,316        7        2,025,316     8/25/2015    8/26/2015       2         9
  9/1/2015    GOLD & SILVER MINING OF NEVADA INC      CJTF                               $0.0002       9/1/2015      2,500,000                 2,500,000      9/2/2015    9/9/2015        9         9
 9/14/2015    GOLD & SILVER MINING OF NEVADA INC      CJTF                               $0.0001      9/14/2015      1,406,250                 1,406,250     9/16/2015    9/16/2015       3         3
 9/21/2015    GOLD & SILVER MINING OF NEVADA INC      CJTF                               $0.0001      9/21/2015      8,750,000                 8,750,000     9/22/2015    9/22/2015       2         2
 9/28/2015    GOLD & SILVER MINING OF NEVADA INC      CJTF                               $0.0000      9/28/2015      8,750,000                 8,750,000     9/29/2015    9/29/2015       2         2
 10/7/2015    GOLD & SILVER MINING OF NEVADA INC      CJTF                               $0.0002      10/7/2015     32,500,000                32,500,000     10/7/2015    10/7/2015       1         1
 10/12/2015   GOLD & SILVER MINING OF NEVADA INC      CJTF                               $0.0002      10/12/2015    33,333,333                33,333,333     10/13/2015 10/13/2015        2         2
 10/27/2015   GOLD & SILVER MINING OF NEVADA INC      CJTF     10/27/2015   $15,000      $0.0002      11/10/2015    140,000,000      15       140,000,000    11/10/2015 11/11/2015        2         17
 11/17/2015   GOLD & SILVER MINING OF NEVADA INC      CJTF                               $0.0002      11/17/2015    160,000,000               160,000,000    11/17/2015 11/25/2015        9         9
 10/30/2014   GOLD AND GEMSTONE MINING INC            GGSM     10/30/2014   $11,000      $0.0010      11/18/2014    36,000,000       20       35,732,742     12/3/2014    12/4/2014      17         37
 3/19/2015    GOLD AND GEMSTONE MINING INC            GGSM                               $0.0002      3/19/2015     36,000,000                36,267,258      4/2/2015    4/7/2015       20         20
 4/16/2015    GOLD AND GEMSTONE MINING INC            GGSM                               $0.0599      4/16/2015     43,500,000                43,500,000     4/21/2015    4/21/2015       6         6
 4/24/2015    GOLD AND GEMSTONE MINING INC            GGSM                               $0.0499      4/24/2015     45,800,000                45,800,000     4/24/2015    4/24/2015       1         1
 10/17/2014   GREEN ENERGY ENTERPRISES INC / QUASAR   GYOG     10/17/2014   $25,000      $0.0003      12/19/2014    125,000,000      64       125,000,000    12/19/2014 12/23/2014        5         69
  1/7/2015    GREEN ENERGY ENTERPRISES INC / QUASAR   GYOG                               $0.0002       1/7/2015     62,500,000                62,500,000      1/7/2015    1/7/2015       1          1
  1/9/2015    GREEN ENERGY ENTERPRISES INC / QUASAR   GYOG                               $0.0003       1/9/2015     62,500,000                62,500,000     1/12/2015    1/12/2015      4          4
  2/4/2015    GREEN ENERGY ENTERPRISES INC / QUASAR   GYOG                               $0.0001       2/4/2015     125,000,000               125,000,000     2/5/2015    2/5/2015       2          2
 3/14/2016    GREEN ENERGY ENTERPRISES INC / QUASAR   GYOG     3/14/2016    $15,000      $0.0105      3/18/2016     10,527,272        5       10,527,272     3/21/2016    4/8/2016       22         27
 8/17/2015    GREENFIELD FARMS FOOD INC               GRAS     8/17/2015     $6,250      $0.0006       9/3/2015      8,330,000       18        8,330,000      9/4/2015    9/4/2015        2         20
 10/15/2015   GRID PETROLEUM CORP / SIMLATUS CORP     GRPR     10/15/2015   $16,000      $0.0060      10/15/2015     5,200,000        1        5,200,000     10/28/2015 10/30/2015       16         17
 10/30/2015   GRID PETROLEUM CORP / SIMLATUS CORP     GRPR                               $0.0006      10/30/2015     3,900,000                 3,900,000     11/2/2015    11/2/2015       4         4
 11/6/2015    GRID PETROLEUM CORP / SIMLATUS CORP     GRPR                               $0.0003      11/6/2015     10,800,000                10,800,000     11/6/2015    11/6/2015       1         1
 11/11/2015   GRID PETROLEUM CORP / SIMLATUS CORP     GRPR                               $0.0001      11/11/2015    14,300,000                14,300,000     11/11/2015 11/11/2015        1         1


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MEG Transactions and Days Held Detail                                                                                                                                            Summary Exhibit 2.0

                                                                (1)                                    (2)            (3)                                                  (4)
                                                               Debt         Debt
                                                    Ticker                            Bloomberg                     Quantity    Days Held                  Date First   Date Last    Days Held Total Days
   Date       Issuer                                         Purchase     Purchase                 Deposit Date                            Quantity Sold
                                                    Symbol                           Closing Price                 Deposited     (2) - (1)                   Sale         Sale        (4) - (3)   Held
                                                               Date        Amount
 11/16/2015   GRID PETROLEUM CORP / SIMLATUS CORP   GRPR                               $0.0001      11/16/2015    20,000,000                20,000,000     11/16/2015 11/16/2015         1         1
 11/23/2015   GRID PETROLEUM CORP / SIMLATUS CORP   GRPR                               $0.0001      11/23/2015    24,800,000                24,800,000     12/1/2015    12/7/2015       15         15
 12/10/2015   GRID PETROLEUM CORP / SIMLATUS CORP   GRPR                               $0.0001      12/10/2015    38,100,000                38,100,000     12/10/2015    2/9/2016       62         62
 3/18/2016    GRID PETROLEUM CORP / SIMLATUS CORP   GRPR                               $0.0001      3/18/2016     62,420,000                62,420,000      4/5/2016     4/5/2016       19         19
  4/7/2016    GRID PETROLEUM CORP / SIMLATUS CORP   GRPR                               $0.0002       4/7/2016     83,600,000                83,600,000     4/11/2016    4/12/2016        6         6
 4/14/2016    GRID PETROLEUM CORP / SIMLATUS CORP   GRPR                               $0.0001      4/14/2016     61,440,000                61,440,000     4/15/2016    4/27/2016       14         14
 10/17/2014   GRILLIT INC                           GRLT     10/17/2014   $10,750      $0.0184      11/20/2014     4,011,194       35        4,011,194     11/24/2014 12/17/2014        28         63
  9/9/2015    GRILLIT INC                           GRLT      9/9/2015    $10,750      $0.0004      9/24/2015     100,000,000      16       100,000,000    9/28/2015    10/19/2015      26         42
 10/7/2015    GRILLIT INC                           GRLT                               $0.0003      10/7/2015     115,000,000               115,000,000    10/19/2015 10/23/2015        17         17
 12/1/2015    GRILLIT INC                           GRLT                               $0.0002      12/1/2015     112,000,000               112,000,000    12/1/2015    12/8/2015        8         8
 1/31/2013    HALBERD CORPORATION                   HALB     1/31/2013    $15,000      $0.0196      4/30/2013      1,500,000       90        1,500,000     7/17/2013    7/25/2013       87        177
  7/1/2016    HALITRON INC                          HAON      7/1/2016    $20,184      $0.0037      7/22/2016     25,230,125       22       12,892,155     7/22/2016    7/29/2016        8         30
 4/17/2014    HEALTHNOSTICS INC                     HNSS     4/17/2014     $1,000      $0.0006      6/24/2014     100,000,000      69       94,551,357      8/6/2014    6/16/2015      358        427
  7/1/2015    HYBRID COATING TECHNOLOGIES           HCTI      7/1/2015    $12,000      $0.0045      7/15/2015      5,000,000       15        5,000,000     7/15/2015    7/16/2015        2         17
 7/15/2015    HYBRID COATING TECHNOLOGIES           HCTI     7/15/2015    $20,000      $0.0066      7/17/2015     21,820,306        3       21,820,306     7/24/2015    12/7/2015      144        147
  3/7/2014    IN OVATIONS HOLDING INC               INOH      3/7/2014    $10,000      $0.0099      3/18/2014     17,500,000       12       17,500,000      4/8/2014     5/1/2014       45         57
 4/28/2014    IN OVATIONS HOLDING INC               INOH     4/28/2014     $5,000      $0.0030
 6/18/2014    IN OVATIONS HOLDING INC               INOH     6/18/2014    $15,000      $0.0047       7/1/2014     30,000,000       14       30,000,000      8/1/2014    9/18/2014       80         94
 11/4/2014    IN OVATIONS HOLDING INC               INOH     11/4/2014    $25,000      $0.0005      12/12/2014    320,000,000      39       320,000,000    12/17/2014   4/10/2015      120        159
 10/7/2015    INDO GLOBAL EXCHANGE(S)               IGEX                               $0.0012      10/7/2015     25,000,000                25,000,000     10/19/2015 10/22/2015        16         16
 10/29/2015   INDO GLOBAL EXCHANGE(S)               IGEX     10/29/2015   $18,049      $0.0005      11/6/2015     90,000,000        9       90,000,000     11/6/2015    12/23/2015      48         57
 2/12/2014    INOLIFE TECHNOLOGIES INC              INOL     2/12/2014    $20,000      $0.0017      11/7/2014     25,000,000       269      25,000,000     12/23/2014 12/23/2014        47        316
 1/27/2015    INOLIFE TECHNOLOGIES INC              INOL                               $0.0002      1/27/2015     29,500,000                29,500,000     1/30/2015    1/30/2015        4         4
 2/25/2015    INOLIFE TECHNOLOGIES INC              INOL                               $0.0000      2/25/2015     38,000,000                38,000,000      3/3/2015     3/4/2015        8         8
 3/19/2015    INOLIFE TECHNOLOGIES INC              INOL                               $0.0001      3/19/2015     44,000,000                44,000,000     3/27/2015    4/10/2015       23         23
 3/18/2014    INTERNETARRAY INC                     INAR                               $0.0002      3/18/2014     375,000,000               375,000,000    4/16/2014    4/17/2014       31         31
 6/16/2014    INTERNETARRAY INC                     INAR     6/16/2014     $6,000      $0.0002      7/15/2014     600,000,000      30       48,623,198     11/24/2014   12/5/2014      144        174
 11/24/2014   LAS VEGAS RAILWAYS                    XTRN     11/24/2014   $25,000      $0.0016      12/22/2014    16,670,909       29       16,670,909     12/23/2014 12/26/2014         5         34
 12/27/2014   LAS VEGAS RAILWAYS                    XTRN     12/26/2014   $16,800      $0.0012      12/26/2014    18,311,111        1       18,311,111     12/30/2014 12/30/2014         5         6


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MEG Transactions and Days Held Detail                                                                                                                                             Summary Exhibit 2.0

                                                                 (1)                                    (2)            (3)                                                  (4)
                                                                Debt         Debt
                                                     Ticker                            Bloomberg                     Quantity    Days Held                  Date First   Date Last   Days Held Total Days
   Date       Issuer                                          Purchase     Purchase                 Deposit Date                            Quantity Sold
                                                     Symbol                           Closing Price                 Deposited     (2) - (1)                   Sale         Sale       (4) - (3)   Held
                                                                Date        Amount
  1/2/2015    LAS VEGAS RAILWAYS                     XTRN                               $0.0012       1/2/2015     16,868,888                16,868,888      1/6/2015    1/7/2015        6         6
  1/8/2015    LAS VEGAS RAILWAYS                     XTRN                               $0.0011       1/8/2015     16,888,888                14,257,174     1/12/2015    1/15/2015       8         8
 1/15/2015    LAS VEGAS RAILWAYS                     XTRN     1/15/2015    $25,000      $0.0008      1/15/2015     13,142,857        1       12,878,172     1/26/2015    2/3/2015       20         21
  2/5/2015    LAS VEGAS RAILWAYS                     XTRN                               $0.0010       2/5/2015     15,333,333                18,229,732      2/9/2015    2/20/2015      16         16
 2/25/2015    LAS VEGAS RAILWAYS                     XTRN                               $0.0008      2/25/2015     15,000,000                15,000,000      3/2/2015    4/30/2015      65         65
 5/13/2015    LAS VEGAS RAILWAYS                     XTRN                               $0.0001      5/13/2015     40,000,000                40,000,000     5/18/2015    5/26/2015      14         14
 5/29/2015    LAS VEGAS RAILWAYS                     XTRN                               $0.0002      5/29/2015     68,600,000                68,600,000      6/2/2015    6/2/2015       5          5
  6/4/2015    LAS VEGAS RAILWAYS                     XTRN                               $0.0002       6/4/2015     72,000,000                72,000,000     6/16/2015    6/16/2015      13         13
 6/16/2015    LAS VEGAS RAILWAYS                     XTRN                               $0.0001      6/16/2015     229,400,000               229,400,000    6/18/2015    6/22/2015       7         7
 10/23/2014   LIG ASSETS INC                         LIGA     10/23/2014   $25,000      $0.0013      11/17/2014    35,714,285       26       35,714,285     11/24/2014 12/17/2014       31         57
 12/12/2014   LIG ASSETS INC                         LIGA     12/12/2014   $25,000      $0.0010      12/18/2014    262,500,000       7       262,500,000    12/23/2014   6/1/2015      166        173
 1/23/2014    MEDICAL CARE TECHNOLOGIES              MDCE     1/23/2014     $9,282      $0.0018      3/18/2014     102,864,000      55       102,864,000     5/8/2014    6/27/2014     102        157
  7/2/2014    MINING GLOBAL INC                      MNGG      7/2/2014    $14,000      $0.0002       8/4/2014     280,000,000      34       280,000,000    8/15/2014    8/15/2014      12         46
 3/18/2014    MYCHECK INC                            MYEC                               $0.0240      3/18/2014     30,000,000                30,000,000     4/23/2014    7/25/2014     130        130
 7/28/2014    MYCHECK INC                            MYEC                               $0.0184      7/28/2014     30,000,000                30,000,000     8/11/2014    9/11/2014      46         46
 9/14/2015    MYCHECK INC                            MYEC     9/14/2015    $47,176
 12/22/2015   NEXT GALAXY CORP                       NXGA     12/22/2015   $30,000      $0.0027      12/29/2015    72,600,000        8       72,600,000     12/29/2015   1/19/2016      22         30
  3/2/2016    NORTH AMERICAN CANNABIS HOLDINGS INC   USMJ      3/2/2016    $15,000      $0.0004
  2/2/2015    PM&E INC                               PMEA      2/2/2015    $12,500      $0.0001
 7/31/2015    POTNETWORK HOLDINGS INC                POTN     7/31/2015    $15,000      $0.0004       9/9/2015     300,000,000      41       300,000,000     9/9/2015    9/29/2015      21         62
 3/23/2016    POTNETWORK HOLDINGS INC                POTN     3/23/2016    $10,000      $0.0700
 3/31/2016    POTNETWORK HOLDINGS INC                POTN                               $0.0250      3/31/2016      1,000,000                 1,000,000      4/5/2016    5/4/2016       35         35
 1/22/2014    PPJ HEALTHCARE ENTERPRISES             PPJE     1/22/2014    $50,000      $0.0038      2/14/2014     50,000,000       24       46,481,973     3/26/2014    4/1/2014       47         71
 2/21/2014    PPJ HEALTHCARE ENTERPRISES             PPJE     2/21/2014    $36,689      $0.0016
  3/8/2014    PPJ HEALTHCARE ENTERPRISES             PPJE      3/8/2014    $12,500      $0.0000
  4/9/2014    PPJ HEALTHCARE ENTERPRISES             PPJE                               $0.0011       4/9/2014     66,706,654                66,706,654     4/21/2014    5/28/2014      50         50
 6/16/2014    PPJ HEALTHCARE ENTERPRISES             PPJE     6/16/2014    $36,066      $0.0008      6/24/2014     25,014,966        9       25,014,966      7/3/2014    7/10/2014      17         26
 6/25/2014    PPJ HEALTHCARE ENTERPRISES             PPJE     6/25/2014    $20,000
 7/21/2014    PPJ HEALTHCARE ENTERPRISES             PPJE                               $0.0009      7/21/2014     100,000,000               100,000,000     8/4/2014    8/11/2014      22         22


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MEG Transactions and Days Held Detail                                                                                                                                            Summary Exhibit 2.0

                                                            (1)                                      (2)             (3)                                                   (4)
                                                           Debt         Debt
                                                Ticker                              Bloomberg                     Quantity      Days Held                  Date First   Date Last    Days Held Total Days
   Date       Issuer                                     Purchase     Purchase                   Deposit Date                              Quantity Sold
                                                Symbol                             Closing Price                 Deposited       (2) - (1)                   Sale         Sale        (4) - (3)   Held
                                                           Date        Amount
  9/3/2014    PPJ HEALTHCARE ENTERPRISES         PPJE                                $0.0004       9/3/2014     400,000,000                 200,000,000    9/15/2014    10/1/2014       29         29
 10/26/2014   PPJ HEALTHCARE ENTERPRISES         PPJE                                $0.0000      10/26/2014    200,000,000                 200,000,000    11/3/2014    11/11/2014      17         17
 11/18/2014   PPJ HEALTHCARE ENTERPRISES         PPJE                                $0.0002      11/18/2014    200,000,000                 329,497,448    11/24/2014   2/19/2016      459        459
 10/28/2015   SANOMEDICS INT'L HOLDINGS INC      SIMH    10/28/2015    $50,000       $0.2300      11/2/2015      1,988,177          6        1,988,177     11/3/2015    12/14/2015      43         49
 11/6/2015    SANOMEDICS INT'L HOLDINGS INC      SIMH    11/6/2015     $10,000       $0.1500
 12/16/2015   SANOMEDICS INT'L HOLDINGS INC      SIMH                                $0.0046      12/16/2015     1,100,000                   1,100,000     12/16/2015 12/16/2015         1         1
 12/17/2015   SANOMEDICS INT'L HOLDINGS INC      SIMH                                $0.0030      12/17/2015     1,160,000                   1,160,000     12/17/2015 12/17/2015         1         1
 12/18/2015   SANOMEDICS INT'L HOLDINGS INC      SIMH                                $0.0025      12/18/2015     1,375,000                   1,375,000     12/18/2015 12/18/2015         1         1
 12/21/2015   SANOMEDICS INT'L HOLDINGS INC      SIMH                                $0.0020      12/21/2015     1,880,000                   1,880,000     12/22/2015 12/22/2015         2         2
 12/23/2015   SANOMEDICS INT'L HOLDINGS INC      SIMH                                $0.0016      12/23/2015     1,880,000                   1,880,000     12/23/2015 12/23/2015         1         1
 12/24/2015   SANOMEDICS INT'L HOLDINGS INC      SIMH                                $0.0010      12/24/2015     2,500,000                   2,500,000     12/24/2015 12/24/2015         1         1
 12/28/2015   SANOMEDICS INT'L HOLDINGS INC      SIMH                                $0.0007      12/28/2015     2,216,639                   2,216,639     12/28/2015 12/28/2015         1         1
  1/8/2016    SANOMEDICS INT'L HOLDINGS INC      SIMH                                $0.0003       1/8/2016      8,900,000                   8,900,000      1/8/2016     1/8/2016        1         1
 1/12/2016    SANOMEDICS INT'L HOLDINGS INC      SIMH                                $0.0002      1/12/2016      13,900,200                 13,900,200     1/13/2016    1/13/2016        2         2
 1/15/2016    SANOMEDICS INT'L HOLDINGS INC      SIMH                                $0.0001      1/15/2016      20,000,000                 20,000,000     1/15/2016    1/15/2016        1         1
 1/20/2016    SANOMEDICS INT'L HOLDINGS INC      SIMH                                $0.0001      1/20/2016      24,800,000                 24,800,000      3/9/2016     4/7/2016       79         79
 10/28/2014   SEVEN ARTS ENTERTAINMENT INC       SAPX    10/28/2014    $15,000       $0.0000      5/15/2015     300,000,000        200      300,000,000    5/15/2015    5/19/2015        5        205
 11/4/2013    URBAN AG CORP                      AQUM    11/4/2013     $25,000       $0.0010      11/15/2013     30,000,000        12       30,000,000     11/18/2013 11/20/2013         6         18
 11/25/2013   URBAN AG CORP                      AQUM                                $0.0005      11/25/2013     30,000,000                 30,000,000     11/26/2013 11/26/2013        2          2
 12/20/2013   URBAN AG CORP                      AQUM                                $0.0001      12/20/2013     90,000,000                 90,000,000     12/20/2013    1/3/2014       15         15
  1/6/2014    URBAN AG CORP                      AQUM                                $0.0002       1/6/2014      97,000,000                 97,000,000      1/8/2014    1/13/2014       8          8
 1/23/2014    URBAN AG CORP                      AQUM                                $0.0002      1/23/2014     123,790,000                      0
   Totals                                                             $1,115,013                                8,537,795,146              7,614,394,752




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                SUMMARY EXHIBIT 3.1
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Aluf Holdings Inc Conversions Debt to Equity                                                                                                       Summary Exhibit 3.1

                                                                   Deposit                   Bloomberg
                      Debt        Debt
                                           Conversion    Note      Amount       Conversion     Close                      Quantity     Diiscount
Issuer              Purchase    Purchase                                                                  Deposit Date                             Quantity Sold
                                             Date       Amount    Conversion      Price      Conversion                  Deposited     Amount %
                      Date       Amount
                                                                    Notice                      Date
ALUF HOLDINGS INC   1/7/2016    $25,000    1/12/2016    $7,250    14,500,000    $0.00050      $0.0031      1/13/2016     14,500,000     83.87%      14,500,000

ALUF HOLDINGS INC                          1/14/2016    $8,000    16,000,000    $0.00050      $0.0014      1/15/2016     16,000,000     64.29%      16,000,000

ALUF HOLDINGS INC                          1/18/2016    $4,875    13,928,571    $0.00035      $0.0008      1/19/2016     13,928,571     56.25%      13,928,571

ALUF HOLDINGS INC                          1/25/2016    $4,875    13,928,571    $0.00035      $0.0012      1/26/2016     13,928,571     70.83%      13,928,571

TOTALS                                                  $25,000   58,357,142                                             58,357,142                 58,357,142

ALUF HOLDINGS INC   1/24/2016   $50,000    1/31/2016    $5,000    17,857,142    $0.00028      $0.0005       2/2/2016     17,857,142     44.00%      17,857,142

ALUF HOLDINGS INC                          2/12/2016    $5,400    45,000,000    $0.00012      $0.0002      2/12/2016     45,000,000     40.00%      46,854,858

ALUF HOLDINGS INC                          2/24/2016    $2,400    60,000,000    $0.00004      $0.0002       3/1/2016     60,000,000     80.00%      60,000,000

ALUF HOLDINGS INC                          3/10/2016    $3,600    90,000,000    $0.00004      $0.0002      3/21/2016     90,000,000     80.00%      90,000,000

ALUF HOLDINGS INC                           4/1/2016    $3,600    90,000,000    $0.00004      $0.0001       4/5/2016     90,000,000     60.00%      90,000,000

ALUF HOLDINGS INC                          4/18/2016    $4,000    100,000,000   $0.00004      $0.0002      4/21/2016     100,000,000    80.00%      100,000,000
ALUF HOLDINGS INC                          5/25/2016    $8,000    200,000,000   $0.00004      $0.0001       6/2/2016     200,000,000    60.00%      68,401,000
TOTALS                                                  $32,000   602,857,142                                            602,857,142                473,113,000
REMAINING DEBT AMOUNT                                   $18,000
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                SUMMARY EXHIBIT 3.2
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Grid Petroleum Corp Conversions Debt to Equity                                                                                                  Summary Exhibit 3.2

                                                                                                   Bloomberg
                          Debt         Debt                            Deposit Amount
                                                Conversion    Note                    Conversion     Close                    Quantity     Diiscount
Issuer                  Purchase     Purchase                            Conversion                           Deposit Date                             Quantity Sold
                                                  Date       Amount                     Price      Conversion                Deposited     Amount %
                          Date        Amount                               Notice
                                                                                                      Date
GRID PETROLEUM CORP     10/15/2015   $16,000    10/22/2015   $3,640      5,200,000     $0.00070     $0.0019    10/15/2015     5,200,000     63.16%      5,200,000

GRID PETROLEUM CORP                   $5,033    11/4/2015    $2,160      10,800,000    $0.00020     $0.0004     11/6/2015    10,800,000     50.00%      10,800,000

GRID PETROLEUM CORP                             11/9/2015    $1,430      14,300,000    $0.00010     $0.0003    11/11/2015    14,300,000     66.67%      14,300,000

GRID PETROLEUM CORP                             11/16/2015   $1,240      24,800,000    $0.00005     $0.0001    11/23/2015    24,800,000     50.00%      24,800,000

GRID PETROLEUM CORP                             12/7/2015    $1,905      38,100,000    $0.00005     $0.0001    12/10/2015    38,100,000     50.00%      38,100,000

GRID PETROLEUM CORP                             3/16/2016    $3,121      62,420,000    $0.00005     $0.0001     3/18/2016    62,420,000     50.00%      62,420,000

GRID PETROLEUM CORP                              4/5/2016    $4,180      83,600,000    $0.00005     $0.0001     4/7/2016     83,600,000     50.00%      83,600,000

GRID PETROLEUM CORP                             4/12/2016    $3,072      61,400,000    $0.00005     $0.0002     4/14/2016    61,440,000     75.00%      61,440,000

TOTALS                               $21,033                 $20,748    300,620,000                                          300,660,000               300,660,000
REMAINING DEBT AMOUNT                                         $285
